Case 22-50073        Doc 4249        Filed 03/24/25       Entered 03/24/25 16:08:54             Page 1 of 70




                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF CONNECTICUT
                                   BRIDGEPORT DIVISION

---------------------------------------------------------------x
                                                              :
In re:                                                        : Chapter 11
                                                              :
HO WAN KWOK, et al.,                                          : Case No. 22-50073 (JAM)
                                                              :
                            1
                  Debtors.                                    : Jointly Administered
                                                              :
                                                              :
---------------------------------------------------------------x


    MONTHLY FEE STATEMENT OF NEUBERT, PEPE & MONTEITH, P.C. FOR
     COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR PERIOD
          FROM JANUARY 1, 2025 THROUGH JANUARY 31, 2025

        In accordance with the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Retained Professionals, dated August 18, 2023 [Docket No.

2094] (the “Interim Compensation Order”),2 Neubert, Pepe & Monteith, P.C. (“NPM”) hereby

submits this monthly statement (the “Monthly Fee Statement”) seeking compensation for

services rendered and reimbursement of expenses incurred as counsel to (a) Luc A. Despins, in

his capacity as the chapter 11 trustee (the “Trustee”) appointed in the chapter 11 case of Ho Wan

Kwok (the “Individual Debtor”), (b) Genever Holdings Corporation (“Genever (BVI)”), and (c)

Genever Holdings LLC (“Genever (US)” and, together with Genever (BVI), the “Genever

Debtors”), for the period from January 1, 2025 through and including January 31, 2025 (the “Fee


1
    The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
    Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever
    Holdings LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The
    mailing address for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul
    Hastings LLP, 200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho
    Wan Kwok (solely for purposes of notices and communications).
2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Interim
    Compensation Order.
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Period”). By this Monthly Fee Statement, NPM respectfully requests payment of 80% of all fees

and 100% of all expenses actually and necessarily incurred for services rendered during the Fee

Period, in the amounts of $285,525.60 and $3,612.22, respectively.

                        SERVICES RENDERED AND EXPENSES INCURRED

           1.        Attached hereto as Exhibit A is a timekeeper summary that includes the name,

title, bar admission year, hourly billing rate, aggregate hours, and amount of fees earned for each

NPM individual who provided services during the Fee Period. The rates charged by NPM for

services rendered to the Trustee and the Genever Debtors are the same rates that NPM charges

generally for professional services rendered to its non-bankruptcy clients.

           2.        Attached hereto as Exhibit B is a summary of NPM’s services rendered and

compensation sought for the Fee Period organized by Task Code Summary.

           3.        Attached hereto as Exhibit C is a list of expenses incurred for which NPM seeks

reimbursement for the Fee Period.

           4.        Attached hereto as Exhibit D are NPM’s fee statements for services provided

during the Fee Period.

                             NOTICE AND OBJECTION PROCEDURES

           5.        Notice of this Monthly Fee Statement will be given by email on the Notice

Parties:        (i) Luc A. Despins, as chapter 11 trustee for the estate of Ho Wan Kwok

(lucdespins@paulhastings.com); (ii) Counsel for the Trustee, (x) Paul Hastings LLP, 200 Park

Avenue,          New      York,    New      York    10166     (Attn:   G.      Alexander        Bongartz

(alexbongartz@paulhastings.com) and Douglass Barron (douglassbarron@paulhastings.com))

and (y) Neubert, Pepe & Monteith, P.C., 195 Church Street, 13th Floor, New Haven, Connecticut

06510       (Attn:     Douglas    S.   Skalka   (dskalka@npmlaw.com)     and    Patrick    R.     Linsey

(plinsey@npmlaw.com)); (iii) the Office of The United States Trustee, Giaimo Federal Building,
                                                    2
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150 Court Street, Room 302, New Haven, Connecticut 06510 (Attn: Holley L. Claiborn

(holley.l.claiborn@usdoj.gov)); (iv) counsel for the Official Committee of Unsecured Creditors,

Pullman & Comley, LLC, 850 Main Street, 8th Floor, PO Box 7006, Bridgeport, Connecticut

06601-7006 (Attn: Irve J. Goldman (igoldman@pullcom.com); and (v) counsel for Pacific

Alliance Asia Opportunity Fund L.P., O’Melveny & Myers LLP, 7 Times Square, New York,

New York 10036 (Attn: Peter Friedman (pfriedman@omm.com) and Stuart M. Sarnoff

(ssarnoff@omm.com) (collectively, the “Notice Parties”).

       6.      Objections to this Monthly Fee Statement, if any, must be filed by the Notice

Parties with the Court and served upon (i) NPM and (ii) the Notice Parties by email no later than

April 14, 2025 at 12:00 p.m. (prevailing Eastern Time) (the “Objection Deadline”), setting

forth the nature of the objection and the specific amount of fees or expenses at issue.

       7.      If no objections to this Monthly Fee Statement are filed by the Objection

Deadline, the estates shall promptly pay NPM 80% of the fees and 100% of the expenses

identified in this Monthly Fee Statement.

       8.      To the extent that an objection to this Monthly Fee Statement is filed on or before

the Objection Deadline, the estates shall withhold payment of that portion of this Monthly Fee

Statement to which the objection is directed and promptly pay the remainder of the fees and

expenses in the percentages set forth above. To the extent such an objection is not resolved, it

shall be preserved and scheduled for consideration at the next interim fee application hearing.

              [THE REMAINDER OF THIS PAGE IS INTENTIONALLY BLANK.]




                                                 3
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Dated: March 24, 2025
       at New Haven, Connecticut

                                              By: /s/ Patrick R. Linsey
                                                 Douglas S. Skalka (ct00616)
                                                 Patrick R. Linsey (ct29437)
                                                 NEUBERT, PEPE & MONTEITH, P.C.
                                                 195 Church Street, 13th Floor
                                                 New Haven, Connecticut 06510
                                                 (203) 821-2000
                                                 dskalka@npmlaw.com
                                                 plinsey@npmlaw.com

                                                 Counsel to Luc A. Despins, Chapter 11
                                                 Trustee, Genever Holdings Corporation,
                                                 and Genever Holdings LLC




                                          4
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                              UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF CONNECTICUT
                                         BRIDGEPORT DIVISION
-----------------------------------------------------------
                                                      x
                                                      :
In re:                                                : Chapter 11
                                                      :
HO WAN KWOK, et al.,1                                 : Case No. 22-50073 (JAM)
                                                      :
                  Debtors.                            : (Jointly Administered)
                                                      :
-----------------------------------------------------------
                                                      X

                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on March 24, 2025 the foregoing Monthly Fee

Statement, and all attachments thereto, was electronically filed and, in addition, was served by

email on the Notice Parties. Parties may access this filing through the Court’s CM/ECF system.

Dated: March 24, 2025
       at New Haven, Connecticut

                                                      By: /s/ Patrick R. Linsey
                                                         Patrick R . Linsey (ct29437)
                                                         NEUBERT, PEPE & MONTEITH, P.C.
                                                         195 Church Street, 13th Floor
                                                         New Haven, Connecticut 06510
                                                         (203) 821-2000
                                                         plinsey@npmlaw.com




1
    The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
    Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever
    Holdings LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The
    mailing address for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul
    Hastings LLP, 200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho
    Wan Kwok (solely for purposes of notices and communications).
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                                        EXHIBIT A

       HOURS AND RATES PER PROFESSIONAL AND PARAPROFESSIONAL


TIMEKEEPER TIMEKEEPER DATE OF                    TITLE       HOURS HOURLY       TOTAL
CODE                   FIRST BAR                                   RATE
                       ADMISSION
     5     Nancy Bohan 12/1991                   Counsel     31.10    $505.00   $15,705.50
           Kinsella
     8     Douglas S.  10/1985                   Partner     18.20    $570.00   $10,374.00
           Skalka
    19     Dennis M.   11/2013                   Partner     109.80   $500.00   $54,900.00
           Carnelli
    41     Patrick R.  11/2010                   Partner     241.50   $520.00   $125,580.00
           Linsey
    28     Lauren T.   11/2021                   Associate 1.60       $375.00   $600.00
           Astone
    20     Robert B.   08/1995                   Partner     25.60    $515.00   $13,184.00
           Flynn
    54     Sarah N.    11/2022                   Associate 39.30      $375.00   $14,373.50
           Smeriglio
    68     Kari        06/2016                   Counsel     119.40   $445.00   $53,133.00
           Mitchell
    82     James C.    11/1984                   Partner     93.60    $515.00   $48,204.00
           Graham
    72     William C.  11/2010                   Partner     23.00    $500.00   $11,500.00
           Sherman
    88     Joseph R.   11/2007                   Associate .20        $375.00   $75.00
           Dunaj
    70     Kellyjohana                           Paralegal   29.20    $220.00   $6,424.00
           Delcarmen
           Ahumada
    91     Terry                                 Paralegal   4.90     $230.00   $1,127.00
           Dembowski-
           Jones
    96     Sarah Katz                            Paralegal   5.10     $235.00   $1,363.00
           Pierce

 Total Hours: 742.50
 Total Fees: $356,907.00
 Blended Hourly Rate: $480.68
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                                   EXHIBIT B

          SUMMARY OF COMPENSATION BY PROJECT CATEGORY
             Case 22-50073
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                                                Summary Fee Task Code Billing Report
                                                                                                             Page 8 of 70           Page: 1
                                                  NEUBERT, PEPE & MONTEITH, P.C.

                                     Hours
                                     to Bill       Amount
Total for Phase ID B110   Billable     2.20        846.00 Case Administration



Total for Phase ID B120   Billable    89.30      43,062.00 Asset Analysis and Recovery



Total for Phase ID B130   Billable    25.40      12,868.00 Asset Disposition



Total for Phase ID B160   Billable     7.40       3,914.00 Fee/Employment Applications



Total for Phase ID B180   Billable   130.10      60,020.00 Avoidance Action Analysis



Total for Phase ID B360   Billable    47.20      17,808.00 NPM-Fee/Employment Applications



Total for Phase ID L602   Billable     1.90        669.00 Greenwich Land A.P. # 23-5005



Total for Phase ID L603   Billable    12.70       6,354.00 HK USA/Interpleader A.P.s ## 22-5003, 23-5012



Total for Phase ID L605   Billable     5.20       2,682.00 Mei Guo (aircraft) A.P. # 23-5008



Total for Phase ID L607   Billable     5.20       2,095.00 Mahwah A.P. # 23-5017



Total for Phase ID L608   Billable     7.30       3,617.00 Golden Spring A.P. #23-5018



Total for Phase ID L612   Billable   110.90      55,843.50 Ace Decade Holdings Limited et al - 23-05028



Total for Phase ID L615   Billable     1.10        572.00 Blueberry Builders, LLC - 24-05007



Total for Phase ID L618   Billable     0.90        466.00 Direct Persuasion LLC - 24-05010



Total for Phase ID L635   Billable     3.40       1,535.50 Yanping Wang - 24-05027



Total for Phase ID L639   Billable     1.10        572.00 Vision Knight Capital (China) Fund - 24-05030



Total for Phase ID L643   Billable     0.70        364.00 Versace USA, Inc. - 24-05034



Total for Phase ID L645   Billable    27.30      14,017.50 Mei Guo - 24-05036



Total for Phase ID L665   Billable     3.50       1,804.00 FFP (BVI) Limited - 24-05056



Total for Phase ID L686   Billable     1.90        950.50 American Express Company - 24-05077



Total for Phase ID L753   Billable     0.30         88.50 Premiere Accounting Solutions LTD - 24-05144



Total for Phase ID L755   Billable     2.30       1,076.00 Fortnum Information Security Limited - 24-05146




KDA                                                                                                               Monday 03/24/2025 11:54 am
             Case 22-50073
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                                                Summary Fee Task Code Billing Report
                                                                                                             Page 9 of 70                 Page: 2
                                                  NEUBERT, PEPE & MONTEITH, P.C.

                                     Hours
                                     to Bill       Amount
Total for Phase ID L770   Billable     0.40        202.00 Mandelli USA, Inc. - 24-05161



Total for Phase ID L788   Billable     4.30       1,913.50 Rising Sun Capital Ltd. - 24-05179



Total for Phase ID L794   Billable     0.30        171.00 Structure Design Build LLC - 24-05185



Total for Phase ID L795   Billable     2.00       1,014.50 Berkeley Rowe Limited - 24-05186



Total for Phase ID L803   Billable     1.10        572.00 McManimon, Scotland & Baumann, LLC - 24-05194



Total for Phase ID L822   Billable     0.20        104.00 Georgiou Payne Stewien LLP a/k/a GPS McQuhae LLP - 24-05213



Total for Phase ID L827   Billable     0.30         88.50 Hou Yuan Chan - 24-05218



Total for Phase ID L830   Billable     2.50       1,195.00 Gypsy Mei Food Services LLC - 24-05221



Total for Phase ID L834   Billable    20.40       9,775.50 Cirrus Design Corporation - 24-05225



Total for Phase ID L838   Billable     0.20        104.00 Marcum LLP - 24-05229



Total for Phase ID L847   Billable     0.50        260.00 Qiang Guo - 24-05238



Total for Phase ID L854   Billable     0.40        208.00 RM Auctions Deutschland GmbH - 24-05245



Total for Phase ID L865   Billable     0.30        156.00 Scarabaeus Wealth Management AG - 24-05250



Total for Phase ID L867   Billable     2.10       1,030.50 Gettr USA, Inc. - 24-05252



Total for Phase ID L869   Billable     0.30        156.00 NAV Consulting Inc. - 24-05254



Total for Phase ID L917   Billable     0.20        104.00 Cameron Smee - 24-05271



Total for Phase ID L922   Billable     2.30       1,107.50 Kin Ming Je - 24-05274



Total for Phase ID L923   Billable     1.40        707.00 Sin Ting Rong - 24-05274



Total for Phase ID L931   Billable    18.80       8,748.50 Alter Ego – 24-05249



Total for Phase ID L932   Billable     2.10        983.50 Defeng Cao 24-05001



Total for Phase ID L934   Billable   127.60      64,646.50 ACASS U.S.A. Inc – 24-05282



Total for Phase ID L950   Billable     0.30         88.50 The Golden Sealine Limited - 24-05308




KDA                                                                                                                     Monday 03/24/2025 11:54 am
            Case 22-50073
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                                                 Summary Fee Task Code Billing Report
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                                                  NEUBERT, PEPE & MONTEITH, P.C.

                                     Hours
                                     to Bill        Amount
Total for Phase ID L951   Billable     0.30           88.50 Haitong International Securities - 24-05309



Total for Phase ID L953   Billable    30.00       15,275.00 Bouillor Holdings Limited et al - 24-05311



Total for Phase ID L954   Billable    27.10       12,884.50 Boies Schiller Flexner LLP - 24-05313



Total for Phase ID L961   Billable     0.30           88.50 Birchstone Capital AG - 24-05290



Total for Phase ID L966   Billable     0.30         156.00 Norris McLaughling P.A. - 24-05317



Total for Phase ID L967   Billable     7.70        3,186.50 Updike, Kelly & Spellacy - 25-05003



Total for Phase ID L968   Billable     1.50         667.50 AA Global Ventured Limited et al (AE Omnibus) - 24-05322

                                                           GRAND TOTALS

                          Billable   742.50      356,907.00




KDA                                                                                                                   Monday 03/24/2025 11:54 am
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Date: 03/21/2025            Summary Cost Task Code Billing Report                                   Page: 1
                                     NEUBERT, PEPE & MONTEITH, P.C.

                                                  Amount
Total for Phase ID L110         Billable          2,099.47 Fact Investigation/Development


Total for Phase ID L230         Billable          1,378.45 Court Mandated Conferences


Total for Phase ID L320         Billable           134.30 Document Production

                                            GRAND TOTALS

                                Billable          3,612.22




KDA                                                                                Friday 03/21/2025 2:39 pm
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                                    EXHIBIT C

                              ITEMIZED EXPENSES
            Case 22-50073
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                                      Doc 4249        Filed 03/24/25 Entered 03/24/25 16:08:54
                                                         Detail Cost Task Code Billing Report
                                                                                                                            Page 13 of 70                Page: 1
                                                             NEUBERT, PEPE & MONTEITH, P.C.

                          Trans
          Client           Date   Tkpr Task Code         Rate         Amount
Phase ID L110 Fact Investigation/Development
       5248.001    01/02/2025       8 L110   E113                      269.25 Metro Attorney Service-Subpoena service fees
                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                              Ho Wan Kwok, Debtor
       5248.001    01/03/2025       8 L110     E107                     32.87 Federal Express - Delivery service to Patrick R. Linsey
                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                              Ho Wan Kwok, Debtor
       5248.001    01/06/2025       8 L110     E107                     25.03 Federal Express - Delivery service to Jeri Dana
                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                              Ho Wan Kwok, Debtor
       5248.001    01/16/2025       8 L110     E107                    101.72 Federal Express-Return delivery service from Road Town, VG
                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                              Ho Wan Kwok, Debtor
       5248.001    01/17/2025      43 L110     E107                     25.43 Federal Express - Delivery service to BioBoston Contract Labs Inc.
                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                              Ho Wan Kwok, Debtor
       5248.001    01/17/2025       8 L110     E107                     25.43 Federal Express - Delivery service to Wangs Realty Mgmt Service Inc.
                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                              Ho Wan Kwok, Debtor
       5248.001    01/17/2025       8 L110     E107                     22.68 Federal Express - Delivery service to Fidelity Brokerage Services LLC
                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                              Ho Wan Kwok, Debtor
       5248.001    01/17/2025       8 L110     E107                     17.78 Federal Express - Delivery service to Brookline Bank
                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                              Ho Wan Kwok, Debtor
       5248.001    01/17/2025       8 L110     E107                     28.08 Federal Express - Delivery service to Managing or General Agent of Illinois
                                                                              Corporation Service Company
                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                              Ho Wan Kwok, Debtor
       5248.001    01/17/2025       8 L110     E107                     21.12 Federal Express - Delivery service to Chime Financial, Inc.
                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                              Ho Wan Kwok, Debtor
       5248.001    01/17/2025       8 L110     E107                     25.43 Federal Express - Delivery service to Yanming Wang
                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                              Ho Wan Kwok, Debtor
       5248.001    01/23/2025       8 L110     E107                     16.68 Federal Express - Delivery service to Updike, Kelly & Spellacy, P.C.
                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                              Ho Wan Kwok, Debtor
       5248.001    01/24/2025       8 L110     E107                     16.68 Federal Express - Delivery service to Updike, Kelly & Spellacy, P.C.
                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                              Ho Wan Kwok, Debtor
       5248.001    01/30/2025       8 L110     E107                     78.68 Federal Express-Delivery services to Vision Knight Capital in China
                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                              Ho Wan Kwok, Debtor
       5248.001    01/30/2025       8 L110     E107                     32.16 Federal Express - Delivery service to Lily Van Scyoc
                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                              Ho Wan Kwok, Debtor
       5248.001    01/31/2025       8 L110     E123                  1,360.45 Transperfect Translation International, Inc.-Other professionals-Translation
                                                                              services from Greek to English
                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                              Ho Wan Kwok, Debtor

Total for Phase ID L110                               Billable       2,099.47 Fact Investigation/Development

Phase ID L230 Court Mandated Conferences
       5248.001   01/21/2025      8 L230       E116                    757.95 Reliable Wilmington-Daily transcripts from 1/7, 1/8 and 1/15/25
                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                              Ho Wan Kwok, Debtor
       5248.001    01/30/2025       8 L230     E116                    620.50 Reliable Wilmington-Daily transcript from 1/28/25
                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                              Ho Wan Kwok, Debtor

Total for Phase ID L230                               Billable       1,378.45 Court Mandated Conferences




KDA                                                                                                                                     Friday 03/21/2025 2:40 pm
            Case 22-50073
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                                                         Detail Cost Task Code Billing Report
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                                                             NEUBERT, PEPE & MONTEITH, P.C.

                          Trans
          Client           Date   Tkpr Task Code         Rate         Amount
Phase ID L320 Document Production
       5248.001   01/13/2025      8 L320       E102                     59.30 Old National Bank-Outside printing for document production
                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                              Ho Wan Kwok, Debtor
       5248.001    01/28/2025       8 L320     E102                     75.00 Microsoft Corporation-Outside printing of data for production
                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                              Ho Wan Kwok, Debtor

Total for Phase ID L320                               Billable         134.30 Document Production

                                                                    GRAND TOTALS

                                                      Billable       3,612.22




KDA                                                                                                                                   Friday 03/21/2025 2:40 pm
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                                    EXHIBIT D

                               FEE STATEMENTS
            Case 22-50073
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                                                          Detail Fee Task Code Billing Report
                                                                                                                          Page 16 of 70              Page: 1
                                                             NEUBERT, PEPE & MONTEITH, P.C.

                          Trans                                     Hours
          Client           Date   Tkpr Task Code         Rate       to Bill       Amount
Phase ID B110 Case Administration
       5248.003   01/21/2025      91 B110      A101   230.00         0.30           69.00 Begin preparation of the December 2024 monthly operating
                                                                                          report.
                                                                                          Genever Holdings LLC
                                                                                          Bankruptcy Representation
       5248.002    01/22/2025      91 B110     A101   230.00         0.40           92.00 Confer with Attorney Skalka regarding necessary revisions to
                                                                                          the monthly operating report and attachment. Revise same.
                                                                                          E-mail monthly operating report to Ms. Abrehart for review.
                                                                                          Attend to filing the monthly operating report.
                                                                                          Genever Holdings Corporation
                                                                                          Bankruptcy Representation
       5248.003    01/22/2025      91 B110     A101   230.00         0.50          115.00 Continue preparation of December 2024 monthly operating
                                                                                          report and attachments to same. Revise monthly operating
                                                                                          report. Prepare the monthly operating report and attachments
                                                                                          for filing.
                                                                                          Genever Holdings LLC
                                                                                          Bankruptcy Representation
       5248.002    01/22/2025       8 B110     A111   570.00         0.50          285.00 Review and revise operating report; review revised report
                                                                                          Genever Holdings Corporation
                                                                                          Bankruptcy Representation
       5248.003    01/22/2025       8 B110     A111   570.00         0.50          285.00 Review operating report; draft memorandum to attonrey
                                                                                          Barron with draft report
                                                                                          Genever Holdings LLC
                                                                                          Bankruptcy Representation

Total for Phase ID B110                               Billable       2.20          846.00 Case Administration

Phase ID B120 Asset Analysis and Recovery
       5248.001   01/02/2025      68 B120      A104   445.00         1.20          534.00 Review recent production from G Club, update internal
                                                                                          materials related to new PII for bank subpoena searches
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/02/2025      41 B120     A107   520.00         0.60          312.00 Correspond with E. Sutton regarding
                                                                                                                                       correspond with E.
                                                                                          Sutton and clerk regarding sealed tolling orders (0.2),
                                                                                          correspond with D. Mohamed regarding pending
                                                                                          motions/deadlines (0.1)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/03/2025      68 B120     A108   445.00         0.20           89.00 Correspond with counsel for Credit Agricole regarding meet
                                                                                          and confer and subpoena compliance
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/03/2025      68 B120     A104   445.00         0.30          133.50 Review correspondence and supplemental production from US
                                                                                          Bank/Bento, correspond with ULX regarding upload of same to
                                                                                          Relativity
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/03/2025      68 B120     A108   445.00         0.20           89.00 Correspond with counsel to US Bank/Bento requesting records
                                                                                          related to the closing of the Bento accounts.
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/03/2025      68 B120     A108   445.00         0.30          133.50 Multiple correspondence with counsel to Dedham Savings
                                                                                          regarding status of responsive documents to subpoena
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/03/2025      68 B120     A104   445.00         0.20           89.00 Review update from Bank of China's counsel regarding status
                                                                                          of compliance, review response from P. Linsey
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/03/2025      68 B120     A104   445.00         0.60          267.00 Review supplemental production from Santander, notes to file
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/03/2025       8 B120     A111   570.00         0.30          171.00 Draft memorandum to attorneys Kinsella, Flynn, Graham,
                                                                                          Carnelli, Mitchell and Linsey regarding litigation issues and




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Phase ID B120 Asset Analysis and Recovery
                                                                                      proposed meeting
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/03/2025     41 B120    A108   520.00       1.00          520.00 Correspond with L. Saperstein regarding Bank of China
                                                                                      production (0.4), correspond with clerk regarding status
                                                                                      conference (0.1), correspond with clerk regarding Jan. 7 hearing
                                                                                      (0.1), correspond with trustee regarding hearings (0.1),

                                                                                                    , confer with K. Mitchell regarding various discovery
                                                                                        and litigation projects (0.2)
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/05/2025     41 B120    A103   520.00       0.70          364.00

                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/06/2025     68 B120    A104   445.00       1.20          534.00 Finish review of supplemental Santander production (1), revise
                                                                                      notes (.2)
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/06/2025     68 B120    A108   445.00       0.20           89.00 Correspond with ULX regarding upload of Santander
                                                                                      supplemental production
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/06/2025     68 B120    A104   445.00       0.60          267.00 Review supplemental ADP production, correspond with ULX
                                                                                      regarding upload of same
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/06/2025     68 B120    A108   445.00       0.20           89.00 Correspond with counsel for DBS regarding updated subpoena
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/06/2025     68 B120    A104   445.00       0.30          133.50 Review response from R. Fingold regarding Old National Bank's
                                                                                      notice of stipulated order regarding Golden Eagle and River
                                                                                      Valley
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/06/2025     68 B120    A108   445.00       0.20           89.00 Correspond with R. Mejia at Old National requesting status of
                                                                                      production now that MTQ resolved
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/06/2025     68 B120    A108   445.00       0.20           89.00 Further correspondence with Old National Bank, update
                                                                                      internal materials regarding subpoena compliance regarding
                                                                                      same
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/06/2025     68 B120    A108   445.00       0.20           89.00 Correspond with counsel for Dedham Savings regarding
                                                                                      compliance with subpoena
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/06/2025     68 B120    A105   445.00       0.20           89.00 Correspond with team regarding 100 mile radius and subpoena
                                                                                      compliance
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/06/2025     68 B120    A104   445.00       0.60          267.00 Review productions from Deutsche and Chase related to new
                                                                                      transfers in Santander records
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/06/2025     68 B120    A104   445.00       0.90          400.50 Review/analyze ADP production, update breakdown of
                                                                                      payments per company/employee
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/06/2025     68 B120    A104   445.00       0.90          400.50 Con't review and analysis of G club productions on Relativity
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor




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Phase ID B120 Asset Analysis and Recovery
       5248.001   01/06/2025      41 B120    A106   520.00       0.20           104.00 Correspond with trustee regarding Yvette Wang assets
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/06/2025    19 B120     A105   500.00       0.20           100.00 Confer with Attorney Mitchell regarding propriety of place of
                                                                                       compliance for DSB Rule 2004 subpoena.
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/07/2025    68 B120     A108   445.00       0.30           133.50 Correspond with counsel to Dedham Savings regarding
                                                                                       subpoena
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/07/2025    68 B120     A108   445.00       0.20            89.00 Correspond with ULX regarding issues accessing ADP files
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/07/2025    68 B120     A108   445.00       0.40           178.00 Confer with counsel to Credit Agricole regarding subpoena
                                                                                       compliance
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/07/2025    68 B120     A106   445.00       0.10            44.50 Correspond with PHC1 regarding certain suspected targets at
                                                                                       Credit Agricole
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/07/2025    68 B120     A108   445.00       0.40           178.00 Confer with counsel for Dedham Savings regarding next steps
                                                                                       for subpoena compliance
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/07/2025    41 B120     A103   520.00       2.60         1,352.00 Draft agenda and prepare for weekly NPM call (0.6), attend
                                                                                       weekly NPM call with trustee and PH counsel (0.8), prepare for
                                                                                       hearing (0.4), attend Zoom hearing on retention applications
                                                                                       and Max Krasner counsel motions (0.7),

                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/07/2025    41 B120     A106   520.00       3.80         1,976.00 Correspond with trustee and N. Bassett regarding issues
                                                                                       appropriate to be heard on Jan. 15 (0.3), confer with trustee
                                                                                       regarding revisions to status report and revise report in light of
                                                                                       same (0.2), attention to N. Bassett comments on status report
                                                                                       and confer with N. Bassett regarding comments (0.4), attention
                                                                                       to D. Barron comments on status report (0.2), revise status
                                                                                       report including summaries of 15 non-joint motions based on
                                                                                       N. Bassett comments and review and analyze underlying
                                                                                       briefing in analyzing same (1.8), attention to further N. Bassett
                                                                                       comments and further revise status report (0.3), finalize status
                                                                                       report and attempt to file same/deal with efiling issues (0.3),
                                                                                       confer with E. Goldstein regarding UKS negotiations and
                                                                                       correspond with trustee regarding same (0.3)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025    68 B120     A108   445.00       0.20            89.00 Correspond with Dedham Savings regarding subpoena
                                                                                       production
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025    70 B120     A101   220.00       0.20            44.00 Draft and file 2 transcript requests
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025    68 B120     A108   445.00       0.20            89.00 Correspond with counsel to DBS regarding updated subpoena
                                                                                       and additional information needed for search
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025    19 B120     A105   500.00       1.00           500.00 Attend meeting as to status of all proceedings with Attorneys
                                                                                       Skalka, Linsey, Kinsella, Mitchell, Smeriglio, Flynn, and Graham
                                                                                       (0.8); correspond with Attorney Linsey regarding attachment
                                                                                       research (0.2).
                                                                                       Despins, Ch 11 Trustee/Luc A.




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Phase ID B120 Asset Analysis and Recovery
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025      8 B120    A111   570.00       0.80           456.00 Conference call with attorneys Linsey, Kinsella, Graham, Flynn,
                                                                                       Mitchell and Carnelli regarding discovery, motions to dismiss
                                                                                       and withdrawal of reference , pre judgment remedy issues,
                                                                                       motions for default and for extensions of time
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025      8 B120    A111   570.00       0.40           228.00 Telephone attorney Linsey regarding hearing status , plans for
                                                                                       1/15 hearing and plans for motion for judgment and
                                                                                       prejudgment remedy application
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025     41 B120    A105   520.00       2.60         1,352.00 Memorandum to D. Skalka regarding open litigation tasks and
                                                                                       staffing with respect to same (0.3), confer with D. Skalka
                                                                                       regarding litigation tasks/priorities (0.3), prepare for NPM
                                                                                       litigation team meeting (0.3), attend NPM litigation team
                                                                                       meeting regarding priorities (0.8),
                                                                                                                                               correspond
                                                                                       with trustee regarding same (0.1),




                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/09/2025     68 B120    A104   445.00       0.40          178.00 Review Relativity for information regarding Li Meng and
                                                                                      materials from Kroll, correspond with counsel at DBS with
                                                                                      findings.
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/09/2025     68 B120    A104   445.00       1.40          623.00 Review initial production from The Bancorp Bank
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/09/2025     68 B120    A108   445.00       0.10           44.50 Correspond with ULX regarding upload of newly produced
                                                                                      Bancorp Bank documents.
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/09/2025     68 B120    A105   445.00       0.20           89.00 Correspond with P. Linsey regarding information in Bancorp
                                                                                      Bank docs
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/09/2025     68 B120    A104   445.00       0.70          311.50 Rec'v and commence review production from Dedham Savings
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.003    01/09/2025      8 B120    A111   570.00       0.20          114.00 Draft memorandum to attorney Millman regarding latest
                                                                                      security deposit information
                                                                                      Genever Holdings LLC
                                                                                      Bankruptcy Representation
       5248.001    01/09/2025     41 B120    A108   520.00       0.70          364.00 Correspond with L. Saperstein regarding Bank of China
                                                                                      searches (0.1), review and analyze Bancorp records regarding
                                                                                      Mei Guo/Hing Chi Ngok and related issues (0.4), correspond
                                                                                      with K. Mitchell regarding same (0.2)
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/10/2025     68 B120    A104   445.00       0.60          267.00 Con't and complete review of Dedham Savings production,
                                                                                      correspond with ULX regarding upload of same to Relativity
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/10/2025     68 B120    A104   445.00       0.20           89.00 Review correspondence and materials sent by A. Lomas
                                                                                      regarding Bento accounts and remaining funds, reply to P.
                                                                                      Linsey and A Lomas regarding f/u
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/10/2025     41 B120    A105   520.00       0.80          416.00 Correspond with A. Lomas and K. Mitchell regarding potential
                                                                                      property of the estate in defunct bank accounts (0.2), attention




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Phase ID B120 Asset Analysis and Recovery




                                                                                            confer with PHC1 regarding investigation of debtor
                                                                                      funding sources (0.2)
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/13/2025     68 B120    A104   445.00       0.80          356.00 Review materials from Kroll regarding specific entities tied to
                                                                                      Credit Agricole and Relativity, draft and send e-mail to counsel
                                                                                      regarding same
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/13/2025     41 B120    A107   520.00       1.50          780.00 Correspond with D. Barron and PHC1 regarding AMEX
                                                                                      discovery (0.2), correspond with AMEX counsel regarding
                                                                                      discovery/investigation (0.3), draft agenda for NPM weekly
                                                                                      meeting (0.4), attend NPM weekly projects meeting with
                                                                                      trustee (0.4),

                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/14/2025     68 B120    A108   445.00       0.40           178.00 Confer with Citi regarding status of supplemental production
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/14/2025     68 B120    A108   445.00       0.50           222.50 Correspond and confer with Citibank further regarding Kin
                                                                                       Ming Je and Mei Guo accounts
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/14/2025     41 B120    A103   520.00       0.30           156.00 Revise Hawk Eye Security email and correspond with PHC1
                                                                                       regarding same
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/15/2025     68 B120    A103   445.00       0.30           133.50 Revise credit agricole subpoena and correspond with counsel
                                                                                       regarding same
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/15/2025     68 B120    A104   445.00       2.30         1,023.50 Review status of outstanding subpoena compliance
                                                                                       (supplemental and new), memorandum to file for follow
                                                                                       up/next steps
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/15/2025     68 B120    A108   445.00       0.20            89.00 Correspond with counsel to credit agricole regarding updated
                                                                                       subpoena
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/15/2025     41 B120    A106   520.00       0.10            52.00

                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/16/2025     68 B120    A108   445.00       0.20            89.00 Correspond with counsel to US Bank/Bento regarding
                                                                                       outstanding responsive records
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/16/2025     68 B120    A105   445.00       0.20            89.00 Confer with P. Linsey regarding 18th supp motion for 2004
                                                                                       exam
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/16/2025     68 B120    A104   445.00       1.20           534.00 Review bank records in relativity for outstanding items
                                                                                       pursuant to Kroll requests
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/16/2025     41 B120    A108   520.00       2.20         1,144.00
                                                                                           , work on/revise 18th Ruel 2004 motion (0.8), attend Kroll
                                                                                       weekly update (0.5),




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Phase ID B120 Asset Analysis and Recovery
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/17/2025     68 B120    A103   445.00       0.50           222.50 Revise 18th omnibus motion for rule 2004 exams, coordinate
                                                                                       with K. Ahumada regarding filing and service of same
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/17/2025     68 B120    A103   445.00       0.40           178.00 Prepare subpoenas for 18th Rule 2004 motion, confer with K.
                                                                                       Ahumada regarding same
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/17/2025     70 B120    A101   220.00       0.40            88.00 Finalize draft of 18th supplemental motion (.3); send to
                                                                                       Attorney Linsey and Attorney Mitchell for review (.1)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/17/2025     68 B120    A105   445.00       0.20            89.00 Correspond with counsel to DBS and P. Linsey regarding
                                                                                       adjournment of motion to compel hearing
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/17/2025     70 B120    A101   220.00       1.50           330.00 File and serve 18th supplemental 2004 motion on manual
                                                                                       service list and subpoena targets
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/17/2025     68 B120    A103   445.00       0.50           222.50 Draft motion to adjourn MTC hearing, correspond with counsel
                                                                                       to DBS and P. Linsey regarding same
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/17/2025     70 B120    A101   220.00       0.40            88.00 Draft and file certificate of service for 18th supplemental 2004
                                                                                       motion
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/17/2025     68 B120    A104   445.00       1.40           623.00 Review materials from E. Sutton regarding foreign certificate
                                                                                       status, compile documentation for filing, correspond with K.
                                                                                       Ahumada regarding same
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/17/2025     68 B120    A104   445.00       0.20            89.00 Review correspondence from Bank of China regarding status of
                                                                                       subpoena production and location of targets
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/17/2025     68 B120    A105   445.00       0.20            89.00 Confer with S. Pierce and K. Ahumada regarding service of 18th
                                                                                       supp omnibus motion for 2004 exams
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/17/2025     41 B120    A106   520.00       2.30         1,196.00




                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/20/2025     41 B120    A103   520.00       1.00          520.00 Draft agenda for NPM weekly meeting and correspond with
                                                                                      trustee (0.4), attend NPM weekly projects meeting with trustee
                                                                                      (0.6)
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/21/2025     68 B120    A105   445.00       0.10           44.50 Follow up with DBS regarding motion to adjourn hearing
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.002    01/21/2025     91 B120    A101   230.00       0.30           69.00 Prepare draft monthly operating report for December 2024.
                                                                                      Genever Holdings Corporation
                                                                                      Bankruptcy Representation
       5248.001    01/22/2025     68 B120    A103   445.00       0.20           89.00 Review docket for status on 18th supplemental motion for




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Phase ID B120 Asset Analysis and Recovery
                                                                                       2004 exams, correspond with K. Ahumada to f/u
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/22/2025     68 B120    A104   445.00       2.70         1,201.50 Review initial production from Old National Bank, prepare
                                                                                       materials related to transactions
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/22/2025     68 B120    A108   445.00       0.20            89.00 Correspond with ULX regarding Old National Bank production
                                                                                       and Relativity
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/22/2025     68 B120    A104   445.00       0.30           133.50 Review correspondence from DBS regarding motion to
                                                                                       adjourn, review motion and correspond with K. Ahumada
                                                                                       regarding filing of same, subsequent correspondence with DBS
                                                                                       regarding filing status
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/22/2025     68 B120    A108   445.00       0.40           178.00 Confer with counsel to Fidelity regarding status of Rule 2004
                                                                                       motion and issuance of subpoena
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/23/2025     68 B120    A108   445.00       0.20            89.00 Correspond with A. Lomas and P. Linsey and provide
                                                                                       information found in Old National Bank production
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/23/2025     68 B120    A108   445.00       0.10            44.50 Correspond to Wells Fargo regarding recent invoice
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/23/2025     68 B120    A104   445.00       1.00           445.00 Review response from Citi regarding status of supplemental
                                                                                       production and previously provided records, review Relativity
                                                                                       to confirm, and respond to correspondence
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/23/2025     68 B120    A108   445.00       0.20            89.00 Further correspondence with contact at Citibank regarding
                                                                                       supplemental production
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/23/2025      8 B120    A111   570.00       0.30           171.00 Telephone attorney Linsey regarding Kroll report on transfers,
                                                                                       preparation of new actions and call with co-counsel
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/23/2025     41 B120    A106   520.00       2.70         1,404.00 Correspond and confer with trustee regarding requesting
                                                                                       status conference (0.3), draft request to clerk and correspond
                                                                                       with trustee and N. Bassett regarding same (0.2), correspond
                                                                                       with clerk regarding request for status conference (0.1), draft
                                                                                       request for status conference and correspond with trustee
                                                                                       regarding same (0.3), revise request for status conference and
                                                                                       correspond with trustee (0.3), finalize request for status
                                                                                       conference and attention to filing same (0.2), correspond with
                                                                                       H. Claiborn regarding request for status conference (0.1),
                                                                                       attend Kroll weekly update and confer with A. Lomas regarding
                                                                                       avoidance claims (0.7), confer and correspond with trustee
                                                                                       regarding status conference (0.2), prepare for status conference
                                                                                       (0.3)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/23/2025     41 B120    A108   520.00       1.30           676.00 Correspond with clerk regarding sealed order and attention to
                                                                                       same (0.2), correspond with clerk regarding Zoom instructions
                                                                                       and status conference (0.2), attend Zoom status conference
                                                                                       (0.3),
                                                                                                    , correspond with K. Mitchell regarding revised
                                                                                       AMEX subpoena with new request for production language
                                                                                       (0.4)
                                                                                       Despins, Ch 11 Trustee/Luc A.




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Phase ID B120 Asset Analysis and Recovery
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/24/2025     68 B120    A104   445.00       3.50         1,557.50 Review supplemental production from Citi
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/24/2025     68 B120    A103   445.00       1.20           534.00 Reserach Arabia Investment, draft memorandum to P. Linsey
                                                                                       with findings (1), correspond with ULX regarding upload of
                                                                                       production to Relativity (.2)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/24/2025     91 B120    A101   230.00       0.20            46.00 Confer with Attorney Skalka regarding correspondence to
                                                                                       Hamilton Group. Prepare draft correspondence to Michael
                                                                                       Knudsen and transmit copy of title for the 2021 Ducati and
                                                                                       court order.
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/24/2025      8 B120    A111   570.00       0.70           399.00 Telephone attorney Linsey regarding preparation of new
                                                                                       avoidance actions(.4); draft memorandum to attorneys Kinsella,
                                                                                       Astone, Mitchell and Smeriglio regarding preparation of new
                                                                                       actions and next steps and 1/28 conference call (.3)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/24/2025     19 B120    A106   500.00       0.50           250.00 Review USCA2d 24-1271 notice and correspond with Attorney
                                                                                       Bassett and Attorney Linsey regarding the same (0.3);
                                                                                       telephone call with Attorney Linsey regarding next steps in
                                                                                       USCA2d 24-1271 (0.2).
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/24/2025     41 B120    A105   520.00       1.70           884.00 Correspond and confer with D. Carnelli regarding second
                                                                                       circuit sanctions appeal and correspond with N. Basett
                                                                                       regarding same (0.3), review and analyze Citi discovery and
                                                                                       docs regarding corporate structure and draft memorandum to
                                                                                       PH team regarding same (0.8),




                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/26/2025     41 B120    A103   520.00       0.30          156.00 Draft request for trustee to appear remotely on Jan. 28 and
                                                                                      correspond with trustee regarding same
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/27/2025     68 B120    A104   445.00       0.30          133.50 Review objection to 18th omnibus Rule 2004 motion, review AP
                                                                                      24-5248, correspond with P. Linsey
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/27/2025     70 B120    A101   220.00       0.20           44.00 File motion for Chapter 11 Trustee to appear remotely in main
                                                                                      case
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/27/2025     41 B120    A103   520.00       0.40          208.00 Finalize requests for remote appearance and correspond with
                                                                                      K. Ahumada regarding filing same (0.2), correspond with clerk
                                                                                      and trustee about Jan. 28 hearings (0.1), correspond with K.
                                                                                      Mitchell regarding revised AMEX subpoena (0.1)
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/28/2025     70 B120    A101   220.00       0.20           44.00 Finalize American Express subpoena and request for
                                                                                      production; send to Attorney Linsey and Mitchell for review
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/28/2025     68 B120    A104   445.00       0.90          400.50 Review Amex supplemental production, correspond P. Linsey
                                                                                      regarding same
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor




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Phase ID B120 Asset Analysis and Recovery
       5248.001   01/28/2025       8 B120    A111   570.00       0.90           513.00 Review Kroll report on new transfers and recommendations to
                                                                                       client regarding new actions (.4); prepare list of possible new
                                                                                       actions(.5)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/28/2025     8 B120     A111   570.00       0.80           456.00 Attend conference call with attorneys Linsey, Kinsella, Mitchell,
                                                                                       Smeriglio and Astone regarding Kroll reports and client actions
                                                                                       and preparation of new and amended complaints
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/28/2025    41 B120     A101   520.00       7.60         3,952.00 Prepare for hearing on fee application, regarding motions to
                                                                                       dismiss omnibus alter ego complaint, and re: update on
                                                                                       avoidance actions (1.6), correspond with D. Laddin and K.
                                                                                       Ahumada regarding revised AMEX subpoena (0.2), review and
                                                                                       analyze River Valley/Wang objection to Rule 2004 motions
                                                                                       (0.4),

                                                                                                            , attend hearings in Bridgeport bankruptcy
                                                                                       court and confer with N. Bassett and D. Barron in advance of
                                                                                       and following same (4.8), correspond with D. Carnelli regarding
                                                                                       Microsoft discovery dispute and send authorities on foreign
                                                                                       privacy laws dispute (0.3)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/29/2025     8 B120     A111   570.00       1.00           570.00 Conference call with client, attorney Linsey, attorney bassett,
                                                                                       Attorney Barron , and attorney Song on new and amended
                                                                                       actions, tolling agreements, status of motions to dismiss,
                                                                                       motions for judgment and discovery issues
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/29/2025    41 B120     A101   520.00       1.80           936.00 Prepare for NPM weekly update meeting and draft agenda
                                                                                       (0.6), correspond with trustee and N. Bassett regarding same
                                                                                       (0.1), attend NPM weekly update meeting (1.0), correspond
                                                                                       with Reliable and PH team regarding transcript (0.1)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/30/2025    68 B120     A108   445.00       0.20            89.00 Correspond with counsel to Fidelity regarding subpoena and
                                                                                       meet and confer
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/30/2025    68 B120     A108   445.00       0.20            89.00 Correspond with counsel from Credit Agricole regarding status
                                                                                       of subpoena production
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/30/2025     8 B120     A111   570.00       2.00         1,140.00 Review NY debtor & creditor law issues and draft
                                                                                       memorandum to attonrey Kinsella ( .5);Telephone attorney
                                                                                       Kinsella regarding Kroll reports and preparation of new and
                                                                                       amended actions(.3); draft memorandum to attorney Linsey
                                                                                       regarding complaint preparation procedures(.2); Review Kroll
                                                                                       reports and prepare memorandum to attorneys Kinsella,
                                                                                       Mitchell, Smeriglio and Astone with assignments for complaint
                                                                                       preparation ( .8); draft memorandum to attorney Astone
                                                                                       regarding scheduling issues (.2)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/30/2025    41 B120     A109   520.00       1.40           728.00 Attend Kroll weekly update meeting (0.5), correspond with
                                                                                       trustee regarding Max Krasner and attention to prior
                                                                                       correspondence (0.1), correspond with D. Carnelli regarding
                                                                                       PJR application research question from N. Bassett (0.2),



                                                                                                                                , correspond with K.
                                                                                       Mitchell regarding objections to 18th Rule 2004 motion (0.1)
                                                                                       Despins, Ch 11 Trustee/Luc A.




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Phase ID B120 Asset Analysis and Recovery
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/31/2025      68 B120     A104   445.00         0.40          178.00 Review Relativity for Q. Guo tax id, correspond with P. Linsey
                                                                                          regarding findings
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/31/2025      68 B120     A105   445.00         0.20           89.00 Correspond with counsel to Fidelity Brokerage regarding meet
                                                                                          and confer, provide copy of protective order
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/31/2025      68 B120     A108   445.00         0.20           89.00 Confer with counsel to First Abu Dhabi Bank regarding meeting
                                                                                          and confer
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/31/2025      68 B120     A104   445.00         1.10          489.50 Review supplemental production from Citibank (1), correspond
                                                                                          with ULX regarding upload of same (.1)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/31/2025       8 B120     A111   570.00         1.30          741.00 Begin review of draft complaints and draft amended
                                                                                          complaints ( review 4 complaints)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/31/2025       8 B120     A111   570.00         0.60          342.00 Review NY debtor and creditor statutes and draft
                                                                                          memorandum to attorney Kinsella regarding statute revisions
                                                                                          and citations for complaints
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/31/2025      41 B120     A108   520.00         0.10           52.00 Correspond with D. Laddin regarding request for documents
                                                                                          from AMEX
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor

Total for Phase ID B120                               Billable      89.30        43,062.00 Asset Analysis and Recovery

Phase ID B130 Asset Disposition
       5248.001   01/02/2025       72 B130     A108   500.00         0.70          350.00 Communicate with NJ realtors regarding access to property for
                                                                                          short cleaning in advance of showing to potential buyer and
                                                                                          address potential buyer request for NDA from security team
                                                                                          (.3); correspond with NJ security regarding the same (.2);
                                                                                          execute agency agreement for client to allow other Compass
                                                                                          agents to bring buyers (.2)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/02/2025       8 B130     A111   570.00         0.90          513.00 Revise motion to sell motor vehicles ( .8); draft memo to
                                                                                          attorney Song with draft motion ( .1)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/03/2025      72 B130     A108   500.00         0.40          200.00 E-mails and call with NJ realtor D. Cookson regarding cleaning
                                                                                          and potential showing (.3); messages with NJ roofing
                                                                                          contractor (.1)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/06/2025      72 B130     A108   500.00         0.70          350.00 Review e-mail from NJ realtor team regarding showings and NJ
                                                                                          property status; respond to inquiries from NJ realtor team
                                                                                          regarding property expenses and sale process
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/06/2025      72 B130     A108   500.00         0.10           50.00 Communicate with insurance agent for Greenwich property
                                                                                          regarding accounting for premiums
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/07/2025      72 B130     A108   500.00         0.10           50.00 Call with NJ roofer regarding status
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/08/2025      72 B130     A108   500.00         0.30          150.00 Call with NJ realtor regarding potential offer (.2) review LOI and




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Phase ID B130 Asset Disposition
                                                                                        forward to client (.1)
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/08/2025      72 B130     A105   500.00       0.60          300.00 Conference with Attorney Linsey regarding Mahwah property
                                                                                        offeror and review available information
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/08/2025       8 B130     A111   570.00       0.40          228.00 Draft memorandum to M. Knudsen regarding title information
                                                                                        and letter to dealers for keys to vehicles(.2); draft
                                                                                        memorandum to attonrey sutton regarding titles and uis eof
                                                                                        limited power of attorney(.2)
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/08/2025       8 B130     A111   570.00       0.20          114.00 Revise correspondence to auctioneer regarding missing keys
                                                                                        and client's court authority to sell vehicles
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/09/2025      72 B130     A106   500.00       0.30          150.00 Zoom meeting with client and Attorney Linsey regarding
                                                                                        potential Mahwah offeror and strategy
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/09/2025      72 B130     A108   500.00       0.70          350.00 Call with Attorney D. Delano, attorney for NJ offeror, regarding
                                                                                        potential terms or issues with offer pending counter from client
                                                                                        (.5); e-mail memorandum of same to client (.2)
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/09/2025      72 B130     A103   500.00       0.20          100.00 Draft and provide limited POA forms for automobile auctions
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/10/2025      72 B130     A104   500.00       0.20          100.00 Review snow plowing / salting proposed contract for NJ and
                                                                                        address execution
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/10/2025      72 B130     A104   500.00       0.40          200.00 Review e-mail from client regarding other furniture requested
                                                                                        by NJ offeror (.1); research and review of values of TV and lego
                                                                                        sets in Mahwah (.2); respond to client regarding status of
                                                                                        Greenwich furniture that came from NJ and address option for
                                                                                        appraiser or inventory service (.1)
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/13/2025      72 B130     A108   500.00       0.10           50.00 Review e-mail and images from Mahwah NJ realtor regarding
                                                                                        work and house matters and respond for contractors
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/13/2025      72 B130     A106   500.00       0.10           50.00 Review e-mail from prospective NJ buyer counsel and forward
                                                                                        to client regarding proposed response
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/13/2025      72 B130     A108   500.00       0.30          150.00 E-mail to Mahwah NJ buyer counsel regarding status of
                                                                                        potential counteroffer from client pending ascertainment of
                                                                                        personal property forfeiture status
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/14/2025      72 B130     A108   500.00       0.30          150.00 Call and e-mails with attorney for potential Mahwah buyer
                                                                                        regarding counter offer
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/14/2025      72 B130     A106   500.00       0.70          350.00 E-mails with client regarding substance of counter offer to
                                                                                        potential Mahwah buyer (.1); further e-mails regarding
                                                                                        personal property matters raised by potential buyer and
                                                                                        forfeiture matters (.3); review of inventory of personal property
                                                                                        in Greenwich and compare to Mahwah photos and overview to
                                                                                        client of extant personal property (.3)
                                                                                        Despins, Ch 11 Trustee/Luc A.




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Phase ID B130 Asset Disposition
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/15/2025      72 B130     A108   500.00       0.20          100.00 Follow up e-mails to NJ roofing and plaster vendors
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/15/2025      72 B130     A108   500.00       0.20          100.00 E-mail from NJ realtor regarding potential buyer inquiries
                                                                                        about zoning and personal property; e-mail to potential buyer
                                                                                        counsel regarding the same
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/15/2025      72 B130     A108   500.00       0.40          200.00 Call with NJ realtor regarding potential events at Mahwah
                                                                                        property and status of potential offer (.3); follow up e-mail to
                                                                                        client (.1)
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/17/2025      72 B130     A104   500.00       0.90          450.00 Review Greenwich Land inventory and compare to Mahwah
                                                                                        listing photos and information to identify property originating
                                                                                        from Mahwah mansion and denote the same (.7); e-mail to
                                                                                        Attorney L. Song regarding the same (.2)
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/19/2025       8 B130     A111   570.00       0.20          114.00 Draft memorandum to attorneys Song and Bongartz regarding
                                                                                        Ducati issues
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/20/2025      72 B130     A108   500.00       0.30          150.00 E-mail to NJ broker in response to inquiry from potential buyer
                                                                                        regarding landscaping expenses and review of costs incurred
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/21/2025      72 B130     A108   500.00       0.30          150.00 Call with NJ potential buyer counsel regarding client counter
                                                                                        offer and personal property (.2); e-mail update to client
                                                                                        regarding the same (.1)
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/21/2025       8 B130     A111   570.00       0.30          171.00 Draft memorandum to auctioneer regarding Ducati status,
                                                                                        reserve terms and sale proposal
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/21/2025       8 B130     A111   570.00       0.40          228.00 Telephone attorney Song regarding reserve price terms with
                                                                                        auctioneer; Draft memorandum to attorney Song regarding
                                                                                        Ducati sale terms
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/22/2025      72 B130     A107   500.00       0.20          100.00 E-mail with Attorney L. Song regarding NJ personal property
                                                                                        matters and questions of inclusion or exclusions from potential
                                                                                        sale
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/24/2025      72 B130     A108   500.00       0.30          150.00 E-mails with NJ realtors regarding update meeting and
                                                                                        cleaning (.1); with plaster contractor to confirm status (.1); with
                                                                                        potential buyer counsel regarding meeting (.1)
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/24/2025      72 B130     A104   500.00       1.10          550.00 Review/analyze correspondence from Attorney L. Song
                                                                                        regarding status of personal property in storage in NJ and
                                                                                        review of 300+ photographs of furniture storage items located
                                                                                        at Mahwah property to address whether items were bought
                                                                                        with Mahwah house and could be included in sale to
                                                                                        prospective buyer or could be purchased for additional
                                                                                        considerations
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/24/2025      72 B130     A107   500.00       0.50          250.00 Call with Attorney L. Song regarding personal property in
                                                                                        storage, items under forfeiture, and for available information
                                                                                        and itemization and valuations of certain furniture and




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                                                                                         collectibles in Mahwah property to address inclusion or
                                                                                         exclusion from sale of real estate
                                                                                         Despins, Ch 11 Trustee/Luc A.
                                                                                         Ho Wan Kwok, Debtor
       5248.001    01/27/2025      72 B130     A108   500.00       0.50           250.00 Conference with client and NJ realtor team regarding status
                                                                                         update (.2); continue conference with NJ sales manager
                                                                                         regarding insurance, marketing and potential offer (.3)
                                                                                         Despins, Ch 11 Trustee/Luc A.
                                                                                         Ho Wan Kwok, Debtor
       5248.001    01/27/2025      72 B130     A104   500.00       4.20         2,100.00 Review/analyze NJ Taurus invoices, exhibits and disclosures in
                                                                                         litigation regarding personal property in order to compile list
                                                                                         of personal property and fixture items purchased by debtor /
                                                                                         Taurus fund and remaining at Mahwah mansion and valuations
                                                                                         (2.4); draft personal property and fixture list and collate with
                                                                                         invoices and amounts for reference in negotiations with
                                                                                         potential buyers of NJ real property and as asset list for
                                                                                         disclosure to potential purchasers of NJ property (1.8)
                                                                                         Despins, Ch 11 Trustee/Luc A.
                                                                                         Ho Wan Kwok, Debtor
       5248.001    01/27/2025      72 B130     A106   500.00       0.30           150.00 E-mail memorandum to client regarding potential strategies for
                                                                                         negotiation with potential buyer of NJ property
                                                                                         Despins, Ch 11 Trustee/Luc A.
                                                                                         Ho Wan Kwok, Debtor
       5248.001    01/28/2025      72 B130     A108   500.00       1.50           750.00 Video conference with client and NJ potential buyer and
                                                                                         counsel regarding offer and property matters (.4); follow up call
                                                                                         with counsel for NJ potential buyer regarding personal
                                                                                         property and buyer goals(.6); prepare e-mail and file
                                                                                         transmittal to counsel for NJ potential buyer with inventories
                                                                                         and photographs of personal property (.2); further e-mail to
                                                                                         potential buyer counsel regarding personal property
                                                                                         availability, status, location and completeness of information
                                                                                         (.3)
                                                                                         Despins, Ch 11 Trustee/Luc A.
                                                                                         Ho Wan Kwok, Debtor
       5248.001    01/28/2025      72 B130     A104   500.00       0.20           100.00 Review/analyze estimate for NJ cleaner and obtain approval
                                                                                         from client for pricing
                                                                                         Despins, Ch 11 Trustee/Luc A.
                                                                                         Ho Wan Kwok, Debtor
       5248.001    01/28/2025      72 B130     A108   500.00       0.30           150.00 Conference with insurance broker regarding special event
                                                                                         insurance options for NJ property for realtors to potentially
                                                                                         host event
                                                                                         Despins, Ch 11 Trustee/Luc A.
                                                                                         Ho Wan Kwok, Debtor
       5248.001    01/29/2025      72 B130     A108   500.00       0.60           300.00 Correspond with potential Mahwah buyer counsel regarding
                                                                                         personal property proposal to clarify desired personal property
                                                                                         to purchase with offer; respond regarding client's ability to
                                                                                         dispose of all personal property located at Mahwah and
                                                                                         potential pricing matters; forward proposal to client
                                                                                         Despins, Ch 11 Trustee/Luc A.
                                                                                         Ho Wan Kwok, Debtor
       5248.001    01/29/2025      72 B130     A107   500.00       0.30           150.00 Correspond with Attorney T. Sadler at Paul Hastings with
                                                                                         Mahwah utility, contractor, and property tax invoices and
                                                                                         payment instruction
                                                                                         Despins, Ch 11 Trustee/Luc A.
                                                                                         Ho Wan Kwok, Debtor
       5248.001    01/29/2025      72 B130     A108   500.00       0.20           100.00 Correspond with NJ realtor sales manager for Mahwah update
                                                                                         regarding special event insurance options and status of
                                                                                         negotiations with potential buyer
                                                                                         Despins, Ch 11 Trustee/Luc A.
                                                                                         Ho Wan Kwok, Debtor
       5248.001    01/30/2025      72 B130     A104   500.00       0.30           150.00 Review/analyze marketing / contact report from NJ realtors
                                                                                         regarding Mahwah mansion; summarize and forward to client
                                                                                         and inquire about possible special events at mansion hosted by
                                                                                         realtors if insurance available




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Phase ID B130 Asset Disposition
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/30/2025      72 B130     A106   500.00         0.20           100.00 Correspond with client regarding need for personal property
                                                                                           exclusions from Mahwah mansion property and address
                                                                                           options for valuations and exclusions
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/31/2025      72 B130     A107   500.00         0.90           450.00 Communicate with NJ local counsel regarding NJ real estate
                                                                                           contract matters, process, attorney review period and attorney
                                                                                           rider practice (.4); communicate with NJ realtor for draft of
                                                                                           contract and review of same (.3); forward to NJ local counsel
                                                                                           with prior bankruptcy specific terms from CT contracts (.2);
                                                                                           forward to client
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/31/2025      72 B130     A107   500.00         0.40           200.00 Call with Attorney L. Song regarding furniture status from CT
                                                                                           and for NJ inclusion in sale vs potential for auction and
                                                                                           discussion of forfeiture list items
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/31/2025      72 B130     A107   500.00         0.30           150.00 E-mails with attorney for potential Mahwah buyer regarding
                                                                                           personal property and offer price
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/31/2025      72 B130     A103   500.00         2.20         1,100.00 Review NJ personal property spreadsheet and compare with
                                                                                           forfeiture list of seized items and revise to identify and remove
                                                                                           forfeited items; further update list for valuation to denote
                                                                                           inclusion or exclusion in potential sale of Mahwah
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor

Total for Phase ID B130                               Billable      25.40        12,868.00 Asset Disposition

Phase ID B160 Fee/Employment Applications
       5248.001   01/07/2025     8 B160        A111   570.00         0.30           171.00 Telephone attorney Song regarding auctioneer proposal for
                                                                                           personal property ( excluding motor vehicles) and next steps
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/09/2025       8 B160     A111   570.00         0.30           171.00 Draft memorandum to Attorney Song and M. Knudsen
                                                                                           regarding filing of Hamilton Group retention application
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/17/2025       8 B160     A111   570.00         0.50           285.00 Telephone attorneys Song and Bongartz regarding status of
                                                                                           retention application and next steps with application(.3); draft
                                                                                           memorandum to M. Knudsen regarding declaration of
                                                                                           executing document(.2)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/21/2025       5 B160     A103   505.00         3.40         1,717.00 Draft and revise Seventh Interim Fee Application NPM (2.3);
                                                                                           review monthly fee statement (.3); review sixth fee app order
                                                                                           (.3); review amended 6th fee app order (.3); prepare and review
                                                                                           correspondence (.2)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.003    01/21/2025       8 B160     A111   570.00         0.20           114.00 Draft memorandum to attorney Sadler regarding bank
                                                                                           statement
                                                                                           Genever Holdings LLC
                                                                                           Bankruptcy Representation
       5248.001    01/22/2025       8 B160     A111   570.00         1.40           798.00 Draft revisions to auctioneer retention application to add
                                                                                           Ducati (1.2); draft memorandum to auctioneer regarding
                                                                                           revised application and Ducati sale issues ( .2)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/22/2025       8 B160     A111   570.00         0.30           171.00 Telephone attorney Song regarding status of retention




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Phase ID B160 Fee/Employment Applications
                                                                                          application and Ducati issues (.2); draft memorandum to
                                                                                          attorney Song regarding revisions to retention application (.1)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/23/2025       8 B160     A111   570.00         0.60          342.00 Review and revise retention application(.4); draft memorandum
                                                                                          to attorney Song with draft application (.2)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/29/2025       5 B160     A105   505.00         0.20          101.00 Communicate (in firm) with Attorney Smeriglio regarding
                                                                                          revised information to be included in fee app
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/31/2025      70 B160     A101   220.00         0.20           44.00 File Application to Employ The Hamilton Group LLC as
                                                                                          Auctioneer
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor

Total for Phase ID B160                               Billable       7.40         3,914.00 Fee/Employment Applications

Phase ID B180 Avoidance Action Analysis
       5248.001   01/02/2025     70 B180       A101   220.00         0.30           66.00 Download tolling stipulations entered by court and send to
                                                                                          Attorney Sutton and Linsey
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/03/2025      70 B180     A101   220.00         0.20           44.00 Review upcoming deadlines and send memorandum to
                                                                                          Attorneys Linsey, Graham, and Mitchell
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/03/2025      41 B180     A105   520.00         1.80          936.00 Correspond with K. Ahumada regarding various avoidance
                                                                                          action deadlines (0.1),




                                                                                            correspond with D. Skalka regarding next steps in avoidance
                                                                                            litigation (0.2),




                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/05/2025      41 B180     A103   520.00         0.60           312.00 Draft memorandum to trustee regarding claims against tolling
                                                                                           party        (0.4), correspond with trustee and counsel for
                                                                                           tolling party
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/06/2025      41 B180     A107   520.00         8.60         4,472.00 Correspond with E. Sutton regarding schedule for tolling stips
                                                                                           expiring in January and items to address (0.3), correspond with
                                                                                           N. Bassett regarding matters scheduled for Jan. 15 hearing
                                                                                           (0.3), confer with D. Barron regarding Jan. 15 hearing (0.5),
                                                                                           correspond with N. Bassett regarding sealed evidence and Jan.
                                                                                           15 hearing (0.2), correspond with N. Bassett regarding Jan. 15
                                                                                           hearing and draft proposed schedule for arguments at Jan. 15
                                                                                           hearing (0.7), draft proposal re: Jan. 15 hearing for reps for joint
                                                                                           defendants (1.1), draft proposal for non-joint defendants re:
                                                                                           Jan. 15 hearing (0.7), draft memorandum analyzing issues
                                                                                           raised in FFP/Apple/Meta/L&M/A. Mitchell/Cerda/Liberty
                                                                                           Jet/Harcus Parker/Francis/Berkeley Rowe/Weddle
                                                                                           Law/G4s/Jason Miller/ACASS Canada motions to dismiss and
                                                                                           overlap with joint brief (3.4), review briefs for numerous
                                                                                           matters scheduled for Jan. 15 hearing (1.4)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/07/2025      68 B180     A105   445.00         0.20            89.00 Confer with P. Linsey regarding amended avoidance complaints




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Phase ID B180 Avoidance Action Analysis
                                                                                       and summary judgment motions
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/07/2025    70 B180     A101   220.00       0.30            66.00 Draft and review list of joint defendants and send to Attorney
                                                                                       Linsey
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/07/2025    70 B180     A101   220.00       0.20            44.00 Confer with Attorney Mitchell regarding tolling party and
                                                                                       entered tolling stipulation
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/07/2025    41 B180     A103   520.00       2.60         1,352.00 Revise email to representatives for joint defense group based
                                                                                       on N. Bassett comments (0.2), attention to trustee comments
                                                                                       to draft email and further revise email based on other
                                                                                       comments (0.4), review and analyze materials sent by D. Barron
                                                                                       regarding issues for argument in pending motions to dismiss
                                                                                       and as to joint brief (0.6), correspond with D. Barron regarding
                                                                                       same (0.2), correspond with trustee and N. Bassett regarding
                                                                                       further revised emails to joint defense group and non-joint
                                                                                       defendants (0.3),
                                                                                                                                    correspond with
                                                                                       trustee, N. Bassett and D. Barron regarding issues for argument
                                                                                       under joint brief (0.2), confer with trustee and N. Bassett
                                                                                       following hearing regarding status conference (0.1), finalize
                                                                                       emails to joint defense group and counsel for non-joint
                                                                                       defendants regarding Jan. 15 hearings and send (0.4)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/07/2025    41 B180     A108   520.00       3.30         1,716.00 Correspond with J. Sklarz regarding G&S clients' response to
                                                                                       trustee's position on Jan. 15 hearings (0.2), confer with J.
                                                                                       Hellman regarding J. Miller response and position on Jan. 15
                                                                                       hearings (0.1), draft status report for status conference
                                                                                       regarding Jan. 15 hearings (1.6), confer with D. Barron
                                                                                       regarding status report for status conference regarding Jan. 15
                                                                                       hearings and classification of issues in status report (0.3),
                                                                                       correspond with R. Corbi regarding appearances (0.2),
                                                                                       correspond with D. Barron regarding further notice required
                                                                                       regarding trustee's position (0.3), confer with J. Sklarz and R.
                                                                                       Corbi regarding Jan. 15 hearings (0.4), correspond with trustee
                                                                                       and N. Bassett regarding status report and J. Sklarz
                                                                                       call/proposal (0.2)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025    70 B180     A101   220.00       0.40            88.00 Review amended complaints filed by defendants who filed
                                                                                       motions to dismiss and make list of alter egos involved in
                                                                                       those cases (.3); send list to attorney mitchell for review (.1)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025    68 B180     A101   445.00       0.80           356.00 Prepare materials for status conference
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025    68 B180     A105   445.00       0.10            44.50 Confer with P. Linsey regarding AEs as transferors in avoidance
                                                                                       complaints and status conference
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025    68 B180     A105   445.00       0.20            89.00 Correspond with K. Ahumada regarding amended complaints
                                                                                       at issue for status conference sched for today
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025    70 B180     A101   220.00       2.10           462.00 Draft list of counsel that attended January 8 hearing (1.4); send
                                                                                       list to Attorney Linsey for review (.2)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025    70 B180     A101   220.00       0.80           176.00 Attend update meeting with Attorney's Skalka, Linsey, Kinsella,




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Phase ID B180 Avoidance Action Analysis
                                                                                       Mitchell, Smeriglio, Flynn, Graham
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025    70 B180     A101   220.00       0.20            44.00 Draft list of e-mails for service including joint defendants and
                                                                                       counsel from January 8 hearing
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025    68 B180     A108   445.00       0.20            89.00 Correspond with A. Lomas regarding updated schedules for
                                                                                       amended and new complaints
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025    68 B180     A105   445.00       0.80           356.00 Attend meeting with Team regarding upcoming avoidance
                                                                                       actions and amended complaints, summary judgment motions,
                                                                                       and other deadlines/pleadings required
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025    54 B180     A105   375.00       0.80           300.00 Attend meeting with Team regarding upcoming avoidance
                                                                                       actions and amended complaints, summary judgment motions,
                                                                                       and other deadlines/pleadings required
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025     5 B180     A105   505.00       0.80           404.00 Communicate (in firm) and attend teams call regarding status
                                                                                       of avoidance actions
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025    82 B180     A105   515.00       0.80           412.00 Avoidance action team meeting re work planning
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025    41 B180     A106   520.00       4.60         2,392.00 Correspond with trustee regarding status report for status
                                                                                       conference (0.1), correspond with courtroom deputy regarding
                                                                                       status report (0.2), correspond with counsel for defendants
                                                                                       regarding service of status report (0.2), confer with trustee in
                                                                                       preparation for status conference (0.1), correspond with clerk
                                                                                       and K. Mitchell regarding status report (0.2), correspond and
                                                                                       confer with K. Mitchell regarding analysis of claims/MTDs in
                                                                                       advance of status conference (0.3), correspond and confer with
                                                                                       N. Bassett in preparation for status conference (0.3), analyze
                                                                                       avoidance claims/MTDs in preparation for status conference
                                                                                       (1.4), review and analyze G&S "status report" and correspond
                                                                                       with trustee and N. Bassett regarding same (0.3), attend Zoom
                                                                                       status conference regarding January 15 argument (1.5)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025    41 B180     A108   520.00       3.10         1,612.00 Correspond with numerous (20+) counsel attending the status
                                                                                       conference in compliance with Court's instruction to collect
                                                                                       information regarding counsel that attended Zoom status
                                                                                       conference (1.6), work on memorandum regarding status
                                                                                       conference attendees and correspond with K. Ahumada
                                                                                       regarding same (0.4), work on/revise memorandum regarding
                                                                                       status conference and correspond with counsel regarding same
                                                                                       (0.3), review and analyze prior motions and orders extending
                                                                                       time to commence avoidance actions and correspond with S.
                                                                                       Maza, D. Barron and N. Kinsella regarding same (0.5), confer
                                                                                       with trustee and N. Bassett following status conference (0.3)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/09/2025     5 B180     A103   505.00       4.60         2,323.00 Draft and revise Motion for Extension Time to file Avoidance
                                                                                       Actions
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/09/2025    41 B180     A108   520.00       1.70           884.00 Correspond with additional counsel regarding appearances at
                                                                                       Jan. 8 status conference (0.3),

                                                                                       (0.3), correspond with trustee regarding negotiations with




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Phase ID B180 Avoidance Action Analysis
                                                                                        tolling party         and next steps (0.2), memorandum to N.
                                                                                        Kinsella regarding facts to support motion to extend time to
                                                                                        file avoidance claims (0.4), revise list of counsel that attended
                                                                                        Jan. 8 status conference based on additional emails and draft
                                                                                        notice of filing list and attention to filing same (0.5)
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/10/2025    68 B180     A105   445.00       0.20           89.00

                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/10/2025    68 B180     A103   445.00       1.40          623.00                                                              rule
                                                                                      2004 motions, and avoidance actions for motion to extend
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/10/2025    68 B180     A105   445.00       0.20           89.00 Correspond with N. Kinsella regarding updated draft of Motion
                                                                                      to Extend Time SOL
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/10/2025    68 B180     A108   445.00       0.20           89.00 Correspond with A. Lomas and J. Lazarus regarding Updike
                                                                                      Kelly and Wachtel Missry schedules for complaints
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/10/2025    68 B180     A103   445.00       0.80          356.00 (Updike Kelly) -- Review and revise avoidance complaint
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/10/2025    68 B180     A103   445.00       0.40          178.00 (Updike Kelly) -- further revise complaint, correspond with P.
                                                                                      Linsey regarding same
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/10/2025    68 B180     A103   445.00       0.80          356.00 (Wachtel Missry) -- Review and revise avoidance complaint
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/10/2025    28 B180     A105   375.00       0.20           75.00 Correspond with Attorney K. Mitchell regarding draft Updike
                                                                                      Kelly avoidance complaint
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/10/2025     5 B180     A103   505.00       1.70          858.50 Review and revise motion for englargement Statute of
                                                                                      Limitations avoidance actions
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/10/2025    41 B180     A104   520.00       1.50          780.00 Attention to tolling party
                                                                                                                                   investigate further
                                                                                      transfers involving tolling party                  and
                                                                                      correspond with A. Lomas regarding same (0.4), correspond
                                                                                      and confer with trustee regarding counter to tolling party

                                                                                                 correspond with D. Skalka and K. Mitchell regarding
                                                                                      complaints against tolling parties                 (0.2),
                                                                                      correspond with N. Bassett regarding preparation for Jan. 15
                                                                                      hearings on joint brief (0.1)
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/12/2025    41 B180     A108   520.00       0.20          104.00 Correspond and confer with tolling party regarding avoidance
                                                                                      claims
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/13/2025    68 B180     A105   445.00       0.20           89.00 Correspond with N. Kinsella regarding motion to extend SOL
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/13/2025    68 B180     A108   445.00       0.20           89.00 Correspond with ULX regarding documents uploaded since
                                                                                      August 2024
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor




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Phase ID B180 Avoidance Action Analysis
       5248.001   01/13/2025     68 B180     A108   445.00       0.20           89.00 Correspond with Kroll regarding new accounts identified since
                                                                                      last SOL extension and approx funds in and out of same
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/13/2025    68 B180     A105   445.00       0.20           89.00

                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/13/2025    68 B180     A103   445.00       1.90          845.50 Revise final motion to extend SOL
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/13/2025     5 B180     A103   505.00       0.90          454.50 Revise Supplemental Motion to extend time to bring avoidance
                                                                                      litigation (.6); prepare and review correspondence K. Mitchell
                                                                                      regarding Motion (.3)
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/13/2025    68 B180     A103   445.00       1.40          623.00 Review comments from N. Kinsella on motion to extend, revise
                                                                                      accordingly
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/13/2025    70 B180     A101   220.00       0.30           66.00 Attention to e-mail from Attorney Sutton regarding filing of
                                                                                                                      ; draft tolling notice and attach
                                                                                      finalized Tolling stip; send to Attorney Linsey for review; file
                                                                                      under seal
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/13/2025    68 B180     A105   445.00       0.10           44.50 Correspond with P. Linsey regarding draft complaint against
                                                                                      tolling party
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/13/2025    41 B180     A105   520.00       1.90          988.00 Correspond with trustee and G. Angelich regarding Meta and
                                                                                      Apple requests to adjourn Jan. 15 hearing as to these
                                                                                      defendants and with G. Angelich regarding procedure for same
                                                                                      (0.3), correspond with J. Newton regarding Jan. 8 status
                                                                                      conference (0.1),

                                                                                                     , correspond and confer with E. Goldstein as
                                                                                       representative counsel for joint defendants regarding notice to
                                                                                       be filed with court regarding which counsel will argue (0.2),
                                                                                       draft notice to court regarding counsel to argue at Jan. 15
                                                                                       hearing (0.7), correspond with N. Bassett regarding notice with
                                                                                       agenda for joint hearing and revise same based on N. Bassett
                                                                                       comments (0.3), correspond with A. Lomas regarding
                                                                                       confidentiality issues on tolling party complaints
                                                                                                (0.1)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/13/2025    41 B180     A107   520.00       3.90         2,028.00 Correspond with N. Bassett about January 15 hearing (0.2),
                                                                                       correspond with N. Bassett regarding evolution of non-joint
                                                                                       motions arguments and connection to joint defendants'
                                                                                       arguments (0.2), review and analyze Meta/Apple motions to
                                                                                       reschedule hearings (0.3), correspond with trustee regarding
                                                                                       same (0.1), work/revise tolling party          complaint (1.2),
                                                                                       work on/revise tolling party                   complaint (1.6),
                                                                                       correspond with trustee and N. Bassett regarding issues in
                                                                                       draft complaints (0.3)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/14/2025    68 B180     A103   445.00       0.40           178.00 Revise motion to extend SOL, correspond with N. Kinsella
                                                                                       regarding same
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/14/2025    70 B180     A101   220.00       0.20            44.00 Finalize and file




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Phase ID B180 Avoidance Action Analysis
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/14/2025     5 B180     A103   505.00       2.10         1,060.50 Draft final revisions to motion to extend Statute of Limitations
                                                                                       Avoidance Actions (1.2); review criminal indictment (.4); review
                                                                                       omnibus alter ego complaint (.5)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/14/2025    70 B180     A101   220.00       0.20            44.00 File updated                    tolling stip under seal
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/14/2025    41 B180     A106   520.00       1.00           520.00 Correspond with trustee regarding tolling party
                                                                                                                             , draft further extended
                                                                                       tolling stipulation for tolling party          (0.4), correspond with
                                                                                       tolling party counsel                     regarding further tolling
                                                                                       (0.2), correspond with K. Ahumada regarding notice/filing
                                                                                       tolling stips (0.2)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/14/2025    41 B180     A104   520.00       2.10         1,092.00 Attention to court orders taking Harcus Parker, Jason Miller,
                                                                                       Apple and Meta motions to dismiss off of agenda for Jan. 15
                                                                                       hearing and correspond with trustee regarding same (0.3),
                                                                                       correspond with E. Sutton regarding update on tolling
                                                                                       stipulations (0.1), correspond with W. Farmer and E. Sutton
                                                                                       regarding hearing on joint motion to dismiss (0.2), confer with
                                                                                       D. Barron regarding Wednesday hearing (0.1), prepare for
                                                                                       hearing on joint briefs (1.4)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/15/2025    70 B180     A101   220.00       0.10            22.00 Draft and file transcript request for January 15 hearing
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/15/2025     5 B180     A103   505.00       0.70           353.50 Draft/revise Motion to Enlarge Time (.4); prepare and review
                                                                                       correspondence (.3)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/15/2025    68 B180     A104   445.00       0.50           222.50 Review analysis and information from Kroll related to amended
                                                                                       complaints to be filed, confer with P. Linsey regarding same
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/15/2025    68 B180     A104   445.00       0.70           311.50 Review materials for requests for entry of default and cases
                                                                                       that need motions for default judgment (.6), correspond with K.
                                                                                       Ahumada regarding identifying each type (.1)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/15/2025    68 B180     A105   445.00       0.20            89.00 Confer with P. Linsey regarding 18th supp omnibus motion for
                                                                                       2004 exams and upcoming avoidance complaints
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/15/2025    41 B180     A101   520.00       6.80         3,536.00 Prepare for hearing on joint motion to dismiss (1.3), attend
                                                                                       hearing on joint motion to dismiss in Bridgeport bankruptcy
                                                                                       court and confer with trustee following same (4.8),
                                                                                                                                                        (0.2),
                                                                                       update trustee regarding
                                                                                                        ,



                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/16/2025    68 B180     A103   445.00       0.30          133.50 Revise motion to extend SOL, correspond with P. Linsey and N.
                                                                                      Kinsella regarding same
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/16/2025    70 B180     A101   220.00       0.10           22.00 Attention to sealed order entered regarding tolling
                                                                                      stipulations; forward to Attorney Linsey with request to ask




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                                                                                       clerk for access
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/16/2025    68 B180     A104   445.00       1.20           534.00 Review status of foreign certs, notes to E. Sutton regarding
                                                                                       same
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/16/2025    68 B180     A108   445.00       0.50           222.50 Attend weekly Kroll meeting regarding new complaints, etc.
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/16/2025    68 B180     A106   445.00       0.20            89.00 Further correspondence with E. Sutton regarding outstanding
                                                                                       foreign certs of service needed.
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/16/2025    68 B180     A104   445.00       0.20            89.00 Attention to marked up list of complaints that need
                                                                                       amendments, correspond with P. Linsey and D. Skalka
                                                                                       regarding next steps
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/16/2025    70 B180     A101   220.00       0.80           176.00 Draft list of avoidance actions that are not stayed and have not
                                                                                       filed replies in preparation for drafting requests for entry of
                                                                                       default
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/16/2025    41 B180     A106   520.00       1.80           936.00 Correspond with trustee regarding
                                                                                                                                                   , review
                                                                                       and analyze schedule of existing defendants where additional
                                                                                       transfers found and work on recommendations for complaints
                                                                                       to amend (1.3), correspond with K. Mitchell regarding
                                                                                       amending complaints (0.2)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/17/2025    68 B180     A103   445.00       1.00           445.00 Review and revise cites for alter ego
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/17/2025    68 B180     A105   445.00       0.20            89.00 Correspond with N. Kinsella regarding 18th rule 2004 motion
                                                                                       and motion to extend SOL
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/17/2025    68 B180     A103   445.00       0.40           178.00 Revise motion to extend SOL to include new information,
                                                                                       correspond with P. Linsey regarding updated draft
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/17/2025    96 B180     A101   235.00       1.00           235.00 Draft foreign defendants certificates of service
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/17/2025    96 B180     A101   235.00       0.30           235.00 File foreign certificates of services for foreign defendants
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/17/2025    41 B180     A106   520.00       0.10            52.00 Correspond with trustee regarding hearing on joint MTD
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/20/2025    41 B180     A108   520.00       2.00         1,040.00 Correspond with counsel for tolling parties
                                                                                                                       (0.2), attention to/analyze
                                                                                       expiration of tolling stipulations in February and correspond
                                                                                       with E. Sutton regarding same (0.4), attention to status and
                                                                                       correspond with tolling party                   (0.2), confer with K.
                                                                                       Mitchell regarding amended avoidance complaints (0.2),
                                                                                       correspond with A. Lomas regarding amended avoidance
                                                                                       complaints and review and analyze revised schedule from A.
                                                                                       Lomas regarding additional transfers to existing defendants
                                                                                       (0.6), correspond with K. Mitchell regarding amending
                                                                                       avoidance complaints (0.1), confer with D. Skalka regarding
                                                                                       project to draft/amend avoidance complaints prior to Feb. 15




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                                                                                       (0.3)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/20/2025    41 B180     A104   520.00       2.30         1,196.00 Review and analyze prior motions to extend time to file
                                                                                       avoidance actions (0.4), revise/work on new motion to extend
                                                                                       time to file avoidance actions (1.4), confer with PHC1 regarding
                                                                                       criminal proceedings for extension motion (0.1), correspond
                                                                                       with trustee and S. Maza and D. Barron regarding new motion
                                                                                       to extend time to file avoidance actions (0.2), correspond with
                                                                                       D. Barron regarding list of alter egos from second omnibus
                                                                                       alter ego action (0.2)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/21/2025    68 B180     A103   445.00       0.80           356.00 Review updated schedule of new transfers for existing
                                                                                       avoidance actions provided by Kroll, update same to
                                                                                       incorporate comments and strategies by P. Linsey
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/21/2025    68 B180     A103   445.00       0.40           178.00 Draft new language for new and amended complaints for
                                                                                       post-conviction information
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/22/2025    68 B180     A104   445.00       0.40           178.00 Review schedule of new possible avoidance defendants from
                                                                                       Kroll
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/23/2025    68 B180     A109   445.00       0.80           356.00 Attend Kroll call regarding new transfer analysis and next steps
                                                                                       for new and amended avoidance actions
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/23/2025    68 B180     A104   445.00       0.20            89.00 Review inquiry from Kroll regarding pending avoidance actions
                                                                                       and reply to same
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/23/2025    41 B180     A102   520.00       3.30         1,716.00 Research regarding updates to case law on extension of
                                                                                       avoidance claim filing deadlines (0.9), correspond with N.
                                                                                       Bassett with analysis based on research (1.1), revise/work on
                                                                                       second supplemental motion to extend time to file avoidance
                                                                                       claims incorporating S. Maza and N. Bassett analysis and
                                                                                       adding further authority (1.3
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/24/2025    70 B180     A101   220.00       0.80           176.00 Service of 2nd motion to extend complaint filing deadline onto
                                                                                       manual service list
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/24/2025    41 B180     A106   520.00       2.30         1,196.00 Correspond with trustee regarding revisions to motion to
                                                                                       extend tie to file avoidance actions (0.2), correspond with A.
                                                                                       Lomas regarding information needed for motion to extend
                                                                                       time to file avoidance actions (0.2), work on/finalize motion to
                                                                                       extend time to file avoidance actions and attention to filing
                                                                                       same (0.8), correspond with PH team regarding service of
                                                                                       motion to extend time to file avoidance actions (0.3),
                                                                                       correspond with K. Ahumada regarding service of motion to
                                                                                       extend time to file avoidance claims and filing notice in existing

                                                                                                                                      , correspond with
                                                                                      trustee regarding requests for carve-out from motion to extend
                                                                                      time to file avoidance claims (0.2), confer with D. Skalka
                                                                                      regarding new/amended avoidance claims (0.2)
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/27/2025    68 B180     A105   445.00       0.30          133.50 Confer with P. Linsey regarding amended complaints in need of
                                                                                      drafting and proposed updated draft




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                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/27/2025    68 B180     A105   445.00       0.20            89.00 Confer with K. Ahumada regarding stayed and partially stayed
                                                                                       avoidance actions
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/27/2025    41 B180     A104   520.00       4.00         2,080.00 Review and analyze new transferees data from Kroll and
                                                                                       analyze potential claims/work on recommendations for
                                                                                       potential avoidance actions (2.8), correspond with D. Skalka
                                                                                       regarding avoidance recommendations and new complaints
                                                                                       (0.1), draft memorandum to K. Mitchell regarding NYDCL
                                                                                       pleading issues and preparing new form language for various
                                                                                       aspects of new avoidance complaints (0.9), confer with K.
                                                                                       Mitchell regarding new and revised complaints (0.2)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/27/2025    41 B180     A104   520.00       0.80           416.00 Review hearing notice and confer with K. Ahumada regarding
                                                                                       updating notice for avoidance defendants to incorporate
                                                                                       hearing notice (0.3), correspond with trustee regarding hearing
                                                                                       notice and potential evidentiary hearing (0.2), attention to
                                                                                       status of tolling and correspond with trustee regarding tolling
                                                                                       party                 (0.2), correspond with trustee regarding
                                                                                       Meta and Apple request to be carved out of motion to extend
                                                                                       time (0.1)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/28/2025    70 B180     A101   220.00       0.40            88.00 Draft notice of filing 2nd motion to extend filing deadline and
                                                                                       notice of hearing for filing in all avoidance actions; send to
                                                                                       Attorney Linsey for review
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/28/2025    68 B180     A104   445.00       0.30           133.50 Review comments from P. Linsey regarding the alter ego
                                                                                       language that needs to be included in new and amended
                                                                                       complaints
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/28/2025    70 B180     A101   220.00       0.90           198.00 Attend meeting with Attorneys Mitchell, Linsey, Kinsella,
                                                                                       Smeriglio, Astone, and Skalka regarding new avoidance actions
                                                                                       and upcoming filing deadline
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/28/2025    54 B180     A109   375.00       0.80           300.00 Attend meeting with NPM Team to discuss initiating and
                                                                                       amending avoidance complaints
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/28/2025    68 B180     A109   445.00       0.80           356.00 Attend meeting with team regarding upcoming amended and
                                                                                       new complaints
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/28/2025    28 B180     A109   375.00       0.80           300.00 Attend meeting with NPM team to discuss upcoming amended
                                                                                       and new avoidance complaints
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/28/2025    41 B180     A103   520.00       2.80         1,456.00 Revise notice of motion to extend deadline to file avoidance
                                                                                       actions and correspond with K. Ahumada regarding same and
                                                                                       service (0.3), prepare for and attend NPM avoidance litigation
                                                                                       team meeting regarding new and amended avoidance
                                                                                       complaints for February deadline (0.8), memorandum to A.
                                                                                       Lomas regarding materials needed from Kroll for amended and
                                                                                       drafting new avoidance complaints (0.6), update trustee
                                                                                       regarding same (0.1), draft memorandum to NPM avoidance
                                                                                       complaints team regarding drafting new and amending
                                                                                       avoidance complaints with instructions for drafting/choice of
                                                                                       law issues (0.7), attention to form complaint for team (0.3)




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                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/29/2025    70 B180     A101   220.00       0.20           44.00 Draft edits to Notice of Filing for all avoidance actions to
                                                                                      include new Order Clarifying Notice of Hearing entered by
                                                                                      court; send to Attorney Linsey for review
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/29/2025    70 B180     A101   220.00       0.80          176.00 Finalize notice for filing in all avoidance actions; telephone call
                                                                                      with Attorney Linsey regarding closed cases and alter ego
                                                                                      cases not included in filing; attach exhibits to notice and send
                                                                                      to S. Pierce for filing
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/29/2025    96 B180     A101   235.00       3.80          893.00 Filed Notice of Filing Motion to Extend Deadline to File
                                                                                      Avoidance Actions and Notice of Hearing in all avoidance
                                                                                      action adversary proceeding cases
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/29/2025    70 B180     A101   220.00       0.50          110.00 Serve notice of hearing and order clarifying notice of hearing
                                                                                      on manual service list
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/29/2025     5 B180     A104   505.00       1.00          505.00 Review/analyze Kroll report on new potential claims and
                                                                                      additional transfers on existing claims (.5); prepare and review
                                                                                      correspondence Attorney Linsey, Kroll and Attorney Skalka (.5)
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/29/2025     8 B180     A111   570.00       0.40          228.00 Telephone attorney Linsey regarding amendments to
                                                                                      complaints, motions to amend, assignments of cases
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/29/2025    41 B180     A105   520.00       1.90          988.00 Correspond and confer with N. Kinsella regarding amending
                                                                                      avoidance complaints project (0.2), correspond with N. Kinsella
                                                                                      regarding choice of law for avoidance complaints (0.1),
                                                                                      correspond and confer with A. Lomas regarding revised
                                                                                      analyses for complaint prep (0.3), review/analyze appellate
                                                                                      pleadings and docket regarding consolidated appeal of Court's
                                                                                      orders extending avoidance action deadlines and draft
                                                                                      memorandum to N. Bassett regarding same with analysis on
                                                                                      newly discovered transfers (0.8), correspond and confer with D.
                                                                                      Skalka regarding new and amended avoidance complaints
                                                                                      (0.2), correspond and confer with E. Sutton regarding tolling
                                                                                      parties and deadlines (0.3)
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/30/2025     5 B180     A104   505.00       1.30          656.50 Review/analyze new Kroll spreadsheets (.6) and communicate
                                                                                      with Attorney Skalka (.3) regarding strategy for preparing
                                                                                      complaints and amended complaints; Prepare correspondence
                                                                                      Kwok team regarding what to expect (.4)
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/30/2025    54 B180     A105   375.00       1.80          675.00 Draft 17 State Owner avoidance complaint (.9); Draft Prodome
                                                                                      avoidance complaint (.9)
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/30/2025    41 B180     A106   520.00       1.00          520.00 Correspond with trustee and N. Bassett regarding consolidate
                                                                                      avoidance deadlines appeal (0.3), correspond with D. Skalka
                                                                                      regarding prioritizing avoidance complaints (0.2), correspond
                                                                                      with A. Lomas and D. Skalka regarding Kroll workstreams (0.3),
                                                                                      correspond with Apple/Meta counsel regarding avoidance
                                                                                      deadlines consolidated appeal and new motion (0.2)
                                                                                      Despins, Ch 11 Trustee/Luc A.
                                                                                      Ho Wan Kwok, Debtor
       5248.001    01/31/2025    70 B180     A101   220.00       0.60          132.00 Draft certificate of service for service of 2nd supplemental




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Phase ID B180 Avoidance Action Analysis
                                                                                           Motion to Extend Time to file Avoidance actions and related
                                                                                           filings
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/31/2025       5 B180     A105   505.00         1.00           505.00 Communicate (in firm) regarding issues for drafting multiple
                                                                                           complaints and amended complaints (including conference call
                                                                                           (.2); prepare and review correspondence (.4); telephone
                                                                                           conferences with Attorney S. Smeriglio and Attorney K. Mitchell
                                                                                           (.4)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/31/2025      68 B180     A103   445.00         3.50         1,557.50 Draft new alter ego language for new/amended avoidance
                                                                                           complaints
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/31/2025      68 B180     A105   445.00         0.10            44.50 Correspond with P. Linsey and N. Kinsella regarding new
                                                                                           language
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/31/2025      68 B180     A105   445.00         0.20            89.00 Conference with N. Kinsella and S. Smeriglio regarding
                                                                                           amended complaints
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/31/2025      68 B180     A105   445.00         0.20            89.00 Confer with N. Kinsella regarding prior adversary proceedings
                                                                                           and status of judgments in general
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/31/2025      28 B180     A105   375.00         0.20            75.00 Conference with Attorney's N. Kinsella, S. Smeriglio, and K.
                                                                                           Mitchell regarding amended complaints
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/31/2025      28 B180     A104   375.00         0.40           150.00 Review and analyze complaint templates, updated language
                                                                                           regarding statutory bases for complaints; charts of new
                                                                                           complaints
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/31/2025      68 B180     A104   445.00         0.40           178.00 Review all materials, information related to drafting of new
                                                                                           complaints and amended from N. Kinsella, D. Skalka, and Kroll
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/31/2025      54 B180     A105   375.00         0.30           112.50 Phone call with Attorneys N. Kinsella, L. Astone, and K. Mitchell
                                                                                           to discuss drafting avoidance complaints
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/31/2025      54 B180     A105   375.00         2.70         1,012.50 Draft and revise Bourne in Time avoidance complaint (1.5);
                                                                                           Draft and revise Mandelli avoidance complaint (.9);
                                                                                           Communicate with Attorney N. Kinsella regarding revisions to
                                                                                           Mandelli avoidance complaint (.3)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/31/2025      41 B180     A105   520.00         0.40           208.00 Correspond and confer with N. Kinsella regarding pleading NY
                                                                                           DCL claims in new and amended complaints
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor

Total for Phase ID B180                               Billable     130.10        60,020.00 Avoidance Action Analysis

Phase ID B360 NPM-Fee/Employment Applications
       5248.001  01/15/2025   54 B360     A103        375.00         3.90         1,462.50 Review of billing entries in advance of drafting summary of
                                                                                           adversary proceedings in the NPM fee application (1.2); Initiate
                                                                                           drafting chart of summary of avoidance action adversary
                                                                                           proceedings (2.7)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor




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Phase ID B360 NPM-Fee/Employment Applications
       5248.001  01/16/2025   54 B360     A103      375.00       3.60         1,350.00 Continue to draft chart of summary of over 200 avoidance
                                                                                       action adversary proceedings based upon billing entries
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/21/2025    54 B360     A103   375.00       4.10         1,537.50 Draft and revise summary of adversary proceedings in advance
                                                                                       of fee application (2.0); Revise summary of chart of adversary
                                                                                       proceedings (1.8); Phone call with Attorney N. Kinsella
                                                                                       regarding summary of adversary proceedings (.3)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/22/2025     5 B360     A105   505.00       0.50           252.50 Communicate (in firm) with attorney S.Smerigliio regarding
                                                                                       draft 7th Interim Fee Application (.2); review avoidance action
                                                                                       schedule (.3)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/22/2025    54 B360     A103   375.00       4.00         1,500.00 Review 100 pages of billing entries and continue drafting
                                                                                       narratives to describe work completed in the avoidance actions
                                                                                       and adversary proceedings
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/23/2025    54 B360     A103   375.00       2.90         1,087.50 Reviewed and analyzed time entries,, researched motions, and
                                                                                       examined the status of cases to assess the completion of work
                                                                                       in each adversary proceeding
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/23/2025    54 B360     A103   375.00       2.10           787.50 Drafted detailed narratives based upon the review of
                                                                                       completed work in adversary proceedings for the fee
                                                                                       application
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/24/2025    54 B360     A103   375.00       0.90           337.50 Review and revise narratives of the adversary proceeding in the
                                                                                       fee application (.8) Communicate with Attorney N. Kinsella
                                                                                       regarding the same (.1)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/26/2025    54 B360     A103   375.00       4.20         1,575.00 Continue to draft narratives of services NPM provided in
                                                                                       dozens of adversary proceedings in fee application
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/27/2025    70 B360     A101   220.00       0.20            44.00 Telephone conversation with Attorney Smeriglio regarding
                                                                                       Interim Fee Application chart; review numbers for total hours
                                                                                       and fees and send back to Attorney Smeriglio
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/27/2025    54 B360     A103   375.00       2.90         1,087.50 Review and finalize narratives in the fee application
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/27/2025     5 B360     A103   505.00       2.60         1,313.00 Draft/revise Seventh Interim Fee Application (1.4); review NPM
                                                                                       billing records (1.2)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/28/2025     5 B360     A103   505.00       2.60         1,313.00 Draft and revise NPM 7th Interim Fee application and exhibits
                                                                                       to application
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/28/2025    54 B360     A103   375.00       1.20           450.00 Reviewed pleading referenced in fee application and added
                                                                                       appropriate citations and docket numbers
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/29/2025    70 B360     A101   220.00       0.60           132.00 Run fee statements for Attorney Linsey and Attorney Skalka to
                                                                                       review for upcoming seventh interim fee statement
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/29/2025     5 B360     A103   505.00       1.20           606.00 Revise NPM fee application (.4); prepare and review




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Phase ID B360 NPM-Fee/Employment Applications
                                                                                           correspondence regarding new information required by
                                                                                           UST(.5); telephone conference with Attorney Linsey regarding
                                                                                           modifications (.3)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/29/2025      54 B360     A103   375.00         2.70         1,012.50 Correspond with N. Kinsella regarding summary of adversary
                                                                                           proceeding chart (.2); Revise chart of approximately 200
                                                                                           adversary proceedings regarding status and amounts in
                                                                                           controversy (2.4); Correspond with N. Kinsella and K. Ahumada
                                                                                           regarding cumulative fees (.1)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/29/2025      70 B360     A101   220.00         1.00           220.00 Review cumulative fees for avoidance actions worked on from
                                                                                           September-December and enter amount in Exhibit D draft
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/29/2025       8 B360     A111   570.00         1.20           684.00 Review NPM time records for November-December, 2024 (1.1);
                                                                                           meet with K. Ahumada regarding time records(.1)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/30/2025      70 B360     A101   220.00         4.80         1,056.00 Insert amounts in controversy for each avoidance action billed
                                                                                           from September-October for Exhibit D of fee application (2.4);
                                                                                           cross check amounts with filed complaints (2.2); confer with
                                                                                           Attorney Smeriglio and Attorney Skalka regarding same (.2)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor

Total for Phase ID B360                               Billable      47.20        17,808.00 NPM-Fee/Employment Applications

Phase ID L602 Greenwich Land A.P. # 23-5005
       5248.001   01/02/2025      91 L602   A101      230.00         0.30           69.00 Confer with Attorney Skalka regarding revisions to the motion
                                                                                          to approve sale of vehicles (.2) Attend to revisions of the
                                                                                          motion (.1)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/02/2025      41 L602     A104   520.00         0.60          312.00 Review and analyze district court's decision denying motion to
                                                                                          withdraw reference (0.4), correspond with trustee and N.
                                                                                          Bassett regarding decision denying motion to withdraw
                                                                                          reference (0.2)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/03/2025      41 L602     A106   520.00         0.20          104.00 Attention to new counsel for Mei Guo/Greenwich Land and
                                                                                          correspond with trustee regarding same
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/08/2025      91 L602     A101   230.00         0.20           46.00 Telephone conference with Attorney Tess Sadler regarding the
                                                                                          Eversource refund check; telephone Henry of Eversource
                                                                                          regarding a replacement check.
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/09/2025      91 L602     A108   230.00         0.30           69.00 Telephone conference with Eversource regarding procedure
                                                                                          regarding reissuance of refund check (.2) Prepare e-mail to
                                                                                          Eversource Receivables Recovery regarding request for refund
                                                                                          check to be reissued (.1)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/15/2025      91 L602     A101   230.00         0.10           23.00 Prepare follow up e-mail to Eversource regarding replacing
                                                                                          refund check.
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/16/2025      91 L602     A101   230.00         0.20           46.00 Review e-mail from Eversource regarding the replacement
                                                                                          check. Respond to e-mail and confirm that the check will be
                                                                                          mailed to NPM.
                                                                                          Despins, Ch 11 Trustee/Luc A.




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Phase ID L602 Greenwich Land A.P. # 23-5005
                                                                                           Ho Wan Kwok, Debtor

Total for Phase ID L602                               Billable       1.90          669.00 Greenwich Land A.P. # 23-5005

Phase ID L603 HK USA/Interpleader A.P.s ## 22-5003, 23-5012
       5248.001   01/02/2025     19 L603     A106     500.00         0.40           200.00 Correspond with Attorney Bassett regarding appeal in USCA2d
                                                                                           No. 24-2504 (0.2); review underlying D.Conn and Bk. Court
                                                                                           dockets (0.1); review USCA2d No. 24-2504 docket (0.1).
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/02/2025      41 L603     A105   520.00         0.20           104.00 Correspond with D. Carnelli regarding second circuit brief
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/06/2025      19 L603     A104   500.00         2.80         1,400.00 Draft and file appellee scheduling notification for USCA2d No.
                                                                                           24-2504 (0.5); multiple correspondence with Attorney Bassett
                                                                                           and Attorney Linsey regarding briefing in USCA2d No. 23-2504
                                                                                           (0.4); preliminary review of underlying decisions (bankruptcy
                                                                                           court) and pre-appeal papers (1.9).
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/09/2025      19 L603     A104   500.00         2.90         1,450.00 Preliminary review/analysis of appellants' brief and district
                                                                                           court decision for USCA2d 24-2504 (1.1); review/analyze
                                                                                           appellee's brief from district court appeal and draft preliminary
                                                                                           outline of appellee's brief for USCA2d 24-2504 (1.8).
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/17/2025      19 L603     A104   500.00         6.40         3,200.00 Review/analyze appellants' appendices, including special
                                                                                           appendix, and underlying record from file in connection with
                                                                                           preparing appellee's brief for USCA2d 24-2504 (6.3); review
                                                                                           so-ordered scheduling notification for appellee's brief (0.1).
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor

Total for Phase ID L603                               Billable      12.70         6,354.00 HK USA/Interpleader A.P.s ## 22-5003, 23-5012

Phase ID L605 Mei Guo (aircraft) A.P. # 23-5008
       5248.001   01/20/2025       41 L605     A106   520.00         0.50          260.00 Correspond with trustee, N. Bassett and W. Farmer regarding
                                                                                          motion for contempt (0.2), review and analyze
                                                                                          objection/response to order to show cause (0.3)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/21/2025      41 L605     A104   520.00         1.00          520.00 Review and analyze district court opinion affirming summary
                                                                                          judgment (0.6), correspond with trustee, N. Bassett and D.
                                                                                          Carnelli regarding analysis of district court decision affirming
                                                                                          summary judgment (0.4)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/22/2025      19 L605     A104   500.00         1.10          550.00 Review/analyze district court decision affirming the bankruptcy
                                                                                          court opinion granting our motion for summary judgment (0.9);
                                                                                          correspond with Attorney Linsey and Attorney Skalka regarding
                                                                                          the same (0.2).
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/23/2025      41 L605     A104   520.00         0.20          104.00 Attention to order to show cause and docket orders regarding
                                                                                          reply and correspond with W. Farmer and K. Catalano
                                                                                          regarding same
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/27/2025      41 L605     A108   520.00         0.60          312.00 Correspond with K. Catalano regarding reply and injunction
                                                                                          pleadings (0.1), attention to correspondence regarding
                                                                                          discovery/adjournment (0.1), attend conference with Mei Guo
                                                                                          counsel regarding contempt motion and confer with N. Bassett
                                                                                          regarding same (0.4)
                                                                                          Despins, Ch 11 Trustee/Luc A.




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Phase ID L605 Mei Guo (aircraft) A.P. # 23-5008
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/28/2025      41 L605     A103   520.00         1.10          572.00 Revise scheduling motion per N. Bassett comments (0.5),
                                                                                          correspond with K. Catalano and N. Bassett regarding same
                                                                                          (0.2), further revise scheduling motion re: additional N. Bassett
                                                                                          comments and correspond with N. Bassett regarding same
                                                                                          (0.3), correspond with J. Moriarty regarding litigation schedule
                                                                                          (0.1)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/29/2025      41 L605     A108   520.00         0.50          260.00 Correspond with J. Moriarty regarding scheduling motion (0.2),
                                                                                          correspond with J. Moriarty and PH team regarding discovery
                                                                                          requests (0.2), review revised Mei Guo motion (0.1)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/30/2025      41 L605     A104   520.00         0.20          104.00 Review new scheduling order and correspond with PH team
                                                                                          regarding same and new deadlines
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor

Total for Phase ID L605                               Billable       5.20         2,682.00 Mei Guo (aircraft) A.P. # 23-5008

Phase ID L607 Mahwah A.P. # 23-5017
       5248.001  01/08/2025      91 L607       A101   230.00         0.20            46.00 Telephone conference with Ivan Cleaning Services regarding
                                                                                           invoice for cleaning services. Prepare e-mail to Ivan Cleaning
                                                                                           Services regarding same.
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/08/2025      41 L607     A104   520.00         2.30         1,196.00 Review and analyze offer from prospective buyer
                                                                                           Jager/ZuMedia (0.4), undertake research/due diligence
                                                                                           regarding potential buyer and prior deals/litigation (0.9), confer
                                                                                           with W. Sherman regarding potential buyer (0.5), memorandum
                                                                                           to trustee and W. Sherman regarding same (0.2), undertake
                                                                                           additional due diligence regarding potential buyer (0.3)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/09/2025      91 L607     A108   230.00         0.40            92.00 Confer with Attorney Sherman regarding cleaning services for
                                                                                           Mahwah property (.1) Prepare draft e-mail to Ivan of IP
                                                                                           Cleaning regarding cleaning of the premises and telephone
                                                                                           conference with Ivan of IP Cleaning Services and confer with
                                                                                           Attorney Sherman regarding cleaning services (.2) Prepare
                                                                                           e-mail to Ivan of IP Cleaning to commence cleaning (.1)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/09/2025      41 L607     A106   520.00         0.80           416.00 Correspond with trustee and W. Sherman regarding offer to
                                                                                           purchase mansion (0.2), confer with trustee and W. Sherman
                                                                                           regarding offer to purchase mansion (0.3), attention to further
                                                                                           due diligence regarding offer and correspond with trustee and
                                                                                           W. Sherman regarding same (0.3)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/10/2025      91 L607     A101   230.00         0.10            23.00 Confer with Attorney Sherman regarding snow removal
                                                                                           contract. Transmit the executed contract to Kyle Davis Lawn
                                                                                           Care.
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/24/2025      91 L607     A101   230.00         0.40            92.00 Telephone calls to Verizon, Rockland Electric and PSE&G
                                                                                           regarding account balances. Confer with Attorney Sherman
                                                                                           regarding obtaining estimate for cleaning services.
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/27/2025      91 L607     A108   230.00         0.20            46.00 Telephone conference with Ivan of IP Team Cleaning regarding
                                                                                           estimate for cleaning for Mahwah property (.1); Prepare e-mail
                                                                                           to Attorney Sherman regarding same (.1)
                                                                                           Despins, Ch 11 Trustee/Luc A.




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Phase ID L607 Mahwah A.P. # 23-5017
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/28/2025      91 L607     A108   230.00         0.40           92.00 Review estimate from IP Team Cleaning and Confer with
                                                                                          Attorney Sherman regarding same (.1) Several telephone calls
                                                                                          with Ivan of IP Team Cleaning regarding scheduling of cleaning
                                                                                          (.2) Draft e-mail to Hawkeye Security regarding same (.1)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/30/2025      91 L607     A101   230.00         0.40           92.00 Several telephone conference with Ivan of IP Team Cleaning
                                                                                          regarding cleaning and cleaning on Saturday. Prepare e-mail
                                                                                          to security team regarding cleaning on Saturday. Review
                                                                                          e-mails from Attorney Sherman and Attorney Sadler regarding
                                                                                          utility and tax payments due. Diary due dates for upcoming
                                                                                          payments.
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor

Total for Phase ID L607                               Billable       5.20         2,095.00 Mahwah A.P. # 23-5017

Phase ID L608 Golden Spring A.P. #23-5018
       5248.001   01/06/2025      19 L608      A108   500.00         0.20           100.00 Correspond with Microsoft's counsel regarding status of
                                                                                           subpoena compliance.
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/08/2025      19 L608     A108   500.00         0.60           300.00 Attention to status of Microsoft subpoena compliance/prior
                                                                                           communications with Microsoft's counsel regarding
                                                                                           postjudgment discovery (0.4); correspond with Microsoft's
                                                                                           counsel regarding subpoena compliance (0.2).
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/09/2025      19 L608     A108   500.00         0.20           100.00 Correspond with Attorney Mark Murphy regarding Microsoft
                                                                                           subpoena.
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/15/2025      19 L608     A104   500.00         2.20         1,100.00 Review/analyze correspondence and materials from Microsoft
                                                                                           regarding subpoena compliance, including review of HK law
                                                                                           provisions cited therein regarding gsnyus.com domain (1.8);
                                                                                           correspond with counsel for Microsoft requesting
                                                                                           meet-and-confer and articulating issues outstanding (0.4).
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/16/2025      68 L608     A104   445.00         0.60           267.00 Review materials related to Microsoft's response to subpoena,
                                                                                           correspond with D. Carnelli regarding next steps
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/21/2025      19 L608     A108   500.00         0.20           100.00 Follow-up correspondence with Attorney Mark Murphy
                                                                                           regarding Microsoft subpoena and meet-and-confer.
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/24/2025      19 L608     A108   500.00         0.20           100.00 Correspond with Microsoft's counsel regarding
                                                                                           meet-and-confer.
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/28/2025      19 L608     A104   500.00         3.10         1,550.00 Review/analyze materials from Microsoft regarding contested
                                                                                           domain (re: post-judgment discovery subpoena for
                                                                                           non-content information) for meet-and-confer (1.5);
                                                                                           research/review HK law on which Microsoft relies (1.3); attend
                                                                                           meet-and-confer with Microsoft's counsel (0.8); correspond
                                                                                           with Microsoft's counsel regarding meet-and-confer and
                                                                                           forwarding Washington state shield law attestation (0.3).
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor

Total for Phase ID L608                               Billable       7.30         3,617.00 Golden Spring A.P. #23-5018




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Phase ID L612 Ace Decade Holdings Limited et al - 23-05028
       5248.001   01/08/2025     41 L612     A103      520.00       1.00           520.00 Marshal pleadings relevant to enforcement proceedings to
                                                                                          freeze assets (0.4), confer with trustee regarding enforcement
                                                                                          and potential assets (0.2), correspond with trustee and D.
                                                                                          Carnelli regarding same (0.2), review and analyze background
                                                                                          materials from trustee (0.2)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/09/2025     41 L612     A105     520.00       0.40           208.00 Correspond and confer with D. Carnelli regarding enforcement
                                                                                          of judgment (0.2), correspond with trustee and D. Carnelli
                                                                                          regarding enforcement of judgment and issues related to
                                                                                          assets (0.2)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/09/2025     19 L612     A104     500.00       1.60           800.00 Multiple correspondence with client and Attorney Linsey
                                                                                          regarding Pre-Judgment Remedy, title search, and ancillary
                                                                                          orders (0.4); review materials forwarded from Attorney Linsey
                                                                                          regarding default judgments (1.2).
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/10/2025     19 L612     A104     500.00       4.90         2,450.00 Review/analyze file, docket, and default judgment regarding
                                                                                          PJR (2.8); review Pre-Judgment Remedy statutes for
                                                                                          post-judgment application (0.4); review exhibits for motions for
                                                                                          default judgment regarding basis and grounds for
                                                                                          claims/damages against Wang, Ace Decade, and Hao (1.3);
                                                                                          review decision denying Wang pre-trial release from criminal
                                                                                          docket (0.4).
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/13/2025     19 L612     A103     500.00       7.30         3,650.00 Begin drafting Pre-Judgment Remedy application and related
                                                                                          papers (2.9); conduct research regarding ancillary orders in aid
                                                                                          of Pre-Judgment Remedy and incorporate relief regarding the
                                                                                          same into draft Pre-Judgment Remedy application (1.2);
                                                                                          multiple correspondence with Attorney Linsey and Attorney
                                                                                          Bongartz regarding Pre-Judgment Remedy application (0.3);
                                                                                          outline remaining items for Pre-Judgment Remedy application
                                                                                          (0.4); conduct research regarding PJR on unliquidated claim(s)
                                                                                          for which judgment entered and incorporate analysis into
                                                                                          memorandum (1.7); research damages for violation of stay
                                                                                          (0.6); correspond with Attorney Linsey and Attorney Ballerini
                                                                                          regarding NY title search/recordation (0.2).
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/13/2025     41 L612     A105     520.00       0.90           468.00 Correspond with D. Carnelli regarding PJR relief and damages
                                                                                          (0.3), correspond with trustee, A. Bongartz and D. Carnelli
                                                                                          regarding calculating damages for PJR (0.4), correspond with D.
                                                                                          Carnelli regarding title search and property subject to
                                                                                          attachment (0.2)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/14/2025     19 L612     A106     500.00       8.00         4,000.00 Teleconference with Attorney Bongartz and Attorney Linsey
                                                                                          regarding damages (0.5); continue preparing Pre-Judgment
                                                                                          Remedy papers, including forms required by statute and
                                                                                          memorandum of law (2.2); conduct legal research regarding
                                                                                          CGS 52-578e and potential application (1.8); begin drafting
                                                                                          declarations for BVI and UK counsel, as well as incorporating
                                                                                          facts regarding activities of BVI and UK counsel into
                                                                                          Pre-Judgment Remedy memorandum of law (1.3);
                                                                                          review/attention to title search results (0.8); research/conduct
                                                                                          due diligence relative to turnover of NY LLC membership
                                                                                          interest (1.3).
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/14/2025     41 L612     A105     520.00       2.70         1,404.00 Confer with D. Carnelli regarding PJR to secure Yvette Wang
                                                                                          recovery and damages issues (0.2), confer with D. Carnelli and




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                                                                                           A. Bongartz regarding damages analysis for PJR motion (0.7),
                                                                                           correspond with A. Bongartz and D. Carnelli regarding
                                                                                           damages issues and attorneys fees (0.3), confer with D. Carnelli
                                                                                           regarding sealing/ex parte/procedural issues regarding PJR
                                                                                           motion (0.2), correspond with A. Bongartz and PHC1 regarding
                                                                                           Yvette Wang entity/apartment (0.2), correspond with C.
                                                                                           Rosarbo regarding NPM time on Ace Decade issues and
                                                                                           review/analyze billing entries (0.4), correspond with J. Ballerini
                                                                                           and D. Carnelli regarding NY real property issues in securing
                                                                                           apartment for future recovery (0.3), review and analyze closing
                                                                                           statement from purchase of apartment (0.4)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/15/2025     19 L612    A103     500.00         4.40         2,200.00 Continue drafting/revising memorandum of law in support of
                                                                                           PJR application, including statement of facts, procedural
                                                                                           history, and summary of activities necessitated by stay violation
                                                                                           (2.3); conduct research regarding actual damages under 11
                                                                                           USC 362(k) and incorporate analysis into memorandum of law
                                                                                           (1.2); conduct research for case law regarding effect of default
                                                                                           judgment on Pre-Judgment Remedy requirement of showing
                                                                                           probable cause to prevail (0.9).
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/15/2025     41 L612    A105     520.00         0.30           156.00 Correspond with D. Carnelli regarding Ace Decade and
                                                                                           sealing/ex parte relief
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/16/2025     19 L612    A104     500.00         3.80         1,900.00 Review/analyze materials and correspondence with Harneys
                                                                                           and Pallas London for Pre-Judgment Remedy application (0.8);
                                                                                           multiple correspondence with Attorney Linsey and Attorney
                                                                                           Bongartz regarding same (0.3); review PH and NPM fees for
                                                                                           matter (0.3); attention to motion to seal procedure, including
                                                                                           review and analysis of procedure used in other adversary
                                                                                           proceedings (0.7); begin incorporating Pallas and Harney
                                                                                           fees/activities into memorandum in support of Pre-Judgment
                                                                                           Remedy application (0.5); research regarding damages and
                                                                                           relationship to stay violation (1.2).
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/16/2025     41 L612    A105     520.00         0.30           156.00 Correspond with D. Carnelli regarding procedures on PJR
                                                                                           application (0.1), correspond with D. Carnelli regarding updates
                                                                                           from UK and BVI counsel (0.2)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/17/2025     19 L612    A103     500.00         2.90         1,450.00 Continue drafting and revising memorandum in support of
                                                                                           Pre-Judgment Remedy application (2.5); multiple
                                                                                           correspondence with Attorney Linsey regarding consequences
                                                                                           of Wang's stay violation (0.4);
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/17/2025     41 L612    A105     520.00         0.30           156.00 Correspond with D. Carnelli regarding BVI litigation issues and
                                                                                           attention to same
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/18/2025     19 L612    A103     500.00         4.10         2,050.00 Continue drafting/revising memorandum of law in support of
                                                                                           Pre-Judgment Remedy application (1.8); continue
                                                                                           drafting/revising application document and proposed order,
                                                                                           including requests for ancillary orders (1.5); supplemental
                                                                                           research regarding case law addressing damages under 11 USC
                                                                                           362(k) (.8).
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/20/2025     19 L612    A103     500.00         0.30           150.00 Multiple correspondence with Attorney Rocklin, Attorney
                                                                                           Linsey, and Attorney Dunaj regarding ex parte provisions of




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                                                                                           Pre-Judgment Remedy statutes.
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/20/2025     19 L612    A103     500.00         5.90         2,950.00 Continue drafting\revising ex parte Pre-Judgment Remedy
                                                                                           application, memorandum of law, supporting declarations, and
                                                                                           proposed order, including revisions to legal analysis on
                                                                                           ancillary orders and allowance of damages causally related to
                                                                                           stay violation (4.8); confer with Attorney Linsey regarding the
                                                                                           same (0.4); correspond with Attorney Linsey regarding sealing
                                                                                           motion (0.2).; review decisions/papers from HCHK matter
                                                                                           regarding TRO and Preliminary Injunction (0.5).
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/20/2025     41 L612    A105     520.00         1.30           676.00 Confer with D. Carnelli regarding motion for prejudgment
                                                                                           remedy (0.4), review and analyze Pallas time entries narrative in
                                                                                           damages analysis (0.4), correspond with A. Bongartz regarding
                                                                                           same (0.2), review/analyze relevant HCKH motions/order and
                                                                                           correspond with D. Carnelli regarding same (0.3)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/21/2025     88 L612    A102     375.00         0.20            75.00 Research on Pre-Judgment Remedy question from Attorney
                                                                                           Carnelli regarding commencing Pre-Judgment Remedy after
                                                                                           case in chief commenced, brief email/discussion with Attorney
                                                                                           Carnelli
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/21/2025     19 L612    A103     500.00         4.40         2,200.00 Continue drafting/revising PJR application, memorandum of
                                                                                           law, and supporting documents (4.2); correspond with Attorney
                                                                                           Linsey regarding the same (0.2).
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/22/2025     68 L612    A105     445.00         0.40           178.00 Confer with D. Carnelli regarding PJR
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/22/2025     68 L612    A104     445.00         0.30           133.50 Review Wang sentencing memorandum related to MS account
                                                                                           found, correspond with D. Carnelli regarding same
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/22/2025     19 L612    A107     500.00         3.80         1,900.00 Multiple correspondence with Harneys regarding Rui Hao's
                                                                                           actions following the stay violation and evidence of the same
                                                                                           (0.9); review information and documents provided by Harneys
                                                                                           (1.8); multiple correspondence with Pallas regarding more
                                                                                           information on activities in UBS action (0.4); review
                                                                                           government's sentencing memorandum from Wang criminal
                                                                                           docket (0.4); multiple correspondence with Attorney Linsey and
                                                                                           Attorney Bongartz regarding activities of counsel in BVI and UK
                                                                                           (0.3).
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/23/2025     19 L612    A108     500.00         3.50         1,750.00 Further correspondence with Pallas regarding scope of fees
                                                                                           and expiration date for current stay in UBS Action (0.2);
                                                                                           continue preparing/revising memorandum of law and
                                                                                           declarations for Pre-Judgment Remedy application, including
                                                                                           analysis on 362(k) (2.6); attention to MS documents from
                                                                                           Attorney Mitchell (0.4); review additional documentation from
                                                                                           Harneys (0.3).
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/24/2025     19 L612    A103     500.00         1.50           750.00 Continue drafting/revising PJR application, Harneys declaration,
                                                                                           and memorandum of law in support of application.
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/24/2025     41 L612    A103     520.00         2.10         1,092.00 Revise memorandum of law in support of ex parte PJR (1.9),
                                                                                           correspond with D. Carnelli regarding same (0.2)




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                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/27/2025     19 L612    A107     500.00         5.10         2,550.00 Further correspondence with Pallas London regarding stay
                                                                                           activities in UBS matter (0.2); correspond with Harneys
                                                                                           regarding activities in liquidation matter (0.2); confer with
                                                                                           Attorney Linsey regarding application and declarations (0.2);
                                                                                           revise draft declarations for Harneys and Pallas London (0.4);
                                                                                           review/draft proposed revisions to application/memorandum
                                                                                           (2.3); review/draft additional descriptions in Pallas and Harney
                                                                                           declarations (1.8).
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/27/2025     41 L612    A105     520.00         0.20           104.00 Correspond and confer with D. Carnelli regarding PJR motion
                                                                                           and declarations/foreign counsel
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/28/2025     19 L612    A108     500.00         3.60         1,800.00 Multiple correspondence with Harneys (BVI counsel) (0.4)
                                                                                           regarding Pre-Judgment Remedy application (0.4); revise
                                                                                           Harneys' Pre-Judgment Remedy declaration (0.6);
                                                                                           supplemental/additioanl revisions to Pre-Judgment Remedy
                                                                                           application/memorandum of law (2.6).
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/28/2025     41 L612    A108     520.00         0.30           156.00 Correspond with counsel at Pallas and Harneys and trustee
                                                                                           regarding information needed for fee declarations
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/29/2025     19 L612    A108     500.00         5.20         2,600.00 Draft/revise motion to seal for Pre-Judgment Remedy
                                                                                           application (2.5); review file and Wang docket in U.S. v. Wang in
                                                                                           connection with the same (1.0); revise Pallas, NPM, and
                                                                                           Harneys declarations for Pre-Judgment Remedy application
                                                                                           (1.2); correspond with Attorney Linsey regarding outstanding
                                                                                           items for Pre-Judgment Remedy application (0.1); review
                                                                                           additional information from Harneys (0.4).
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/29/2025     41 L612    A108     520.00         2.10         1,092.00 Correspond with A. de Quincey regarding Pallas declaration
                                                                                           (0.1), correspond with D. Carnelli regarding Wang stay
                                                                                           violations (0.2), review NPM time records for damages analysis
                                                                                           and draft NPM attorneys fee declaration (1.2), review draft
                                                                                           professional declarations for other firms and correspond with
                                                                                           D. Carnelli about revising same (0.4), correspond and confer
                                                                                           with A. Bongartz regarding trustee declaration re: PH fees (0.2)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/29/2025     41 L612    A103     520.00         4.90         2,548.00 work on/revise memorandum of law in support of ex parte PJR
                                                                                           motion (2.2), work on/revise ex parte PJR application and order
                                                                                           (1.2), research regarding notice issues (0.2), further revise
                                                                                           memorandum of law regarding discussion of need for ex parte
                                                                                           relief (0.4), revise/work on trustee declaration in support of PJR
                                                                                           motion and ex parte relief (0.6), draft memorandum to D.
                                                                                           Carnelli regarding open items (0.3)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/30/2025     19 L612    A103     500.00         6.50         3,250.00 Continue drafting/revising Pre-Judgment Remedy declarations
                                                                                           (Harneys and Pallas), motion to seal, notice/claim form, and
                                                                                           Pre-Judgment Remedy memorandum of law (5.3); correspond
                                                                                           with Attorney Linsey regarding the same (0.2); revisions to
                                                                                           Trustee's declaration and NPM declaration (0.4); multiple
                                                                                           correspondence with Pallas London and Harneys regarding
                                                                                           declarations (0.6).
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/30/2025     41 L612    A107     520.00         5.30         2,756.00 Correspond and confer with N. Bassett regarding ex parte PJR




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                                                                                           papers (0.2), correspond and confer with A. Bongartz regarding
                                                                                           trustee affidavit (0.2), work on trustee affidavit to combine fees
                                                                                           and probable cause (0.3), correspond with D. Carnelli regarding
                                                                                           PJR papers (0.3), work on/revise motion to seal (1.3), work
                                                                                           on/revise memorandum of law (1.1), work on/revise PJR
                                                                                           application and order (0.4), work on/revise trustee affidavit
                                                                                           regarding asset evidence/exhibits (0.4), revise memorandum re:
                                                                                           discussion of damages (0.6), correspond with trustee regarding
                                                                                           PJR papers (0.3), correspond with D. Carnelli regarding open
                                                                                           items to finalize/file PJR papers (0.2)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/31/2025      68 L612     A103   445.00         0.20            89.00 Revise materials related to PRJ pursuant to D. Carnelli
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/31/2025      19 L612     A103   500.00         9.60         4,800.00 Complete drafting/revising sealed motion to seal, main motion,
                                                                                           and all supporting materials (memorandum of law, exhibit
                                                                                           thereto, proposed order, claim/notice form, all declarations,
                                                                                           and all exhibits thereto) to final/filing form (7.6); multiple
                                                                                           correspondence with client, Attorney Bassett, and Attorney
                                                                                           Linsey regarding the same (0.8); review sentencing transcript
                                                                                           from Wang criminal matter (0.8); e-file sealed motion to seal,
                                                                                           main motion, and all supporting materials as sealed documents
                                                                                           (0.4).
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/31/2025      41 L612     A105   520.00         1.30           676.00 Correspond and confer with D. Carnelli regarding further
                                                                                           updates/revisions needed to finalize PJR application (0.4),
                                                                                           correspond with trustee and N. Bassett regarding trustee
                                                                                           comments to PJR application brief (0.3), correspond with PHC1
                                                                                           regarding information on Yvette Wang's sentencing and
                                                                                           attention to sentencing hearing transcript (0.4), correspond
                                                                                           with trustee regarding finalizing PJR papers and approval to file
                                                                                           (0.2)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor

Total for Phase ID L612                               Billable     110.90        55,843.50 Ace Decade Holdings Limited et al - 23-05028

Phase ID L615 Blueberry Builders, LLC - 24-05007
       5248.001   01/08/2025       41 L615    A108    520.00         0.70          364.00

                                                                                                                      draft memorandum
                                                                                                                               with analysis and
                                                                                            correspond with trustee regarding same (0.4)
                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor
       5248.001    01/09/2025      41 L615     A103   520.00         0.20          104.00

                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor
       5248.001    01/16/2025      41 L615     A104   520.00         0.20          104.00

                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor

Total for Phase ID L615                               Billable       1.10          572.00 Blueberry Builders, LLC - 24-05007

Phase ID L618 Direct Persuasion LLC - 24-05010
       5248.001    01/02/2025      20 L618    A107    515.00         0.20          103.00 Communicate with Attorney R. Trombley regarding status of
                                                                                          matter
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/08/2025      20 L618     A105   515.00         0.20          103.00 Communicate (in firm) with Attorney Linsey regarding




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Phase ID L618 Direct Persuasion LLC - 24-05010
                                                                                                                                              .
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/30/2025      41 L618     A106    520.00         0.50          260.00 Correspond with R. Flynn and R. Trombley and confer with R.
                                                                                           Trombley about status and attention to status of action (0.3),



                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor

Total for Phase ID L618                                Billable       0.90          466.00 Direct Persuasion LLC - 24-05010

Phase ID L635 Yanping Wang - 24-05027
       5248.001   01/09/2025     68 L635       A103    445.00         0.90          400.50 Revise draft of request for entry of default
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/09/2025      68 L635     A105    445.00         0.10           44.50 Correspond with K. Ahumada regarding draft of COS for
                                                                                           amended complaint.
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/09/2025      70 L635     A103    220.00         0.20           44.00 E-mail with Attorney Linsey and Mitchell regarding certificate
                                                                                           of service for amended complaint; draft certificate of service
                                                                                           and send to Attorney Linsey and Mitchell for review
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/09/2025      68 L635     A104    445.00         0.10           44.50 Review draft COS for amended complaint
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/09/2025      41 L635     A105    520.00         0.40          208.00 Correspond with K. Mitchell regarding request for entry of
                                                                                           default and defendant's time to respond to complaint (0.2),
                                                                                           review COS and correspond with K. Ahumada and K. Mitchell
                                                                                           regarding same (0.2)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/10/2025      70 L635     A101    220.00         0.10           22.00 File certificate of service for amended complaint
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/10/2025      68 L635     A103    445.00         0.20           89.00 Revise request for entry of default, correspond with P. Linsey
                                                                                           regarding same
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/10/2025      68 L635     A104    445.00         0.20           89.00 Review information regarding defendant's counsel position on
                                                                                           am complaint, correspond with P. Linsey regarding same
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/10/2025      41 L635     A108    520.00         0.60          312.00 Correspond with C. Macco regarding request for extension of
                                                                                           time to respond to amended complaint and correspond with N.
                                                                                           Bassett regarding same (0.2), correspond with trustee
                                                                                           regarding extension request and default proceedings (0.2),
                                                                                           preliminary review of draft request for entry of default (0.2)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/13/2025      41 L635     A108    520.00         0.20          104.00 Correspond with C. Macco regarding requested further
                                                                                           extension
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/15/2025      68 L635     A104    445.00         0.40          178.00 Review answer to amended complaint
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor

Total for Phase ID L635                                Billable       3.40         1,535.50 Yanping Wang - 24-05027

Phase ID L639 Vision Knight Capital (China) Fund - 24-05030
       5248.001    01/29/2025      41 L639     A103     520.00        0.90          468.00 Draft correspondence to Vision Knight about amended




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Phase ID L639 Vision Knight Capital (China) Fund - 24-05030
                                                                                           complaint and default relief (0.5), research firm/contacts and
                                                                                           correspond with PHC1 regarding same (0.4)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/30/2025      41 L639     A106    520.00         0.20          104.00 Correspond with trustee, K. Ahumada and Vision Knight
                                                                                           regarding letter
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor

Total for Phase ID L639                               Billable        1.10          572.00 Vision Knight Capital (China) Fund - 24-05030

Phase ID L643 Versace USA, Inc. - 24-05034
       5248.001   01/06/2025        41 L643    A108    520.00         0.10           52.00
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/28/2025      41 L643     A108    520.00         0.30          156.00 Correspond with H. Rosenblat and trustee

                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/30/2025      41 L643     A104    520.00         0.30          156.00 Review and analyze



                                                                                             Despins, Ch 11 Trustee/Luc A.
                                                                                             Ho Wan Kwok, Debtor

Total for Phase ID L643                               Billable        0.70          364.00 Versace USA, Inc. - 24-05034

Phase ID L645 Mei Guo - 24-05036
       5248.001   01/16/2025     68 L645       A104    445.00         0.20            89.00 Review correspondence from P. Linsey regarding answers to
                                                                                            complaint, correspond with R. Flynn regarding same
                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor
       5248.001    01/16/2025      41 L645     A104    520.00         1.40           728.00 Analyze open issues and facts for summary judgment motion
                                                                                            (0.6), correspond with K. Mitchell regarding summary judgment
                                                                                            issues (0.2), draft memorandum to K. Mitchell and R. Flynn
                                                                                            regarding summary judgment motion (0.6)
                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor
       5248.001    01/16/2025      20 L645     A105    515.00         0.60           309.00 Communicate (in firm) with Attorney's Mitchell and Linsey
                                                                                            regarding drafting motion for summary judgment against Mei
                                                                                            Guo.
                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor
       5248.001    01/17/2025      68 L645     A105    445.00         0.10            44.50 Correspond with P. Linsey regarding underlying documents
                                                                                            related to transfers in complaint
                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor
       5248.001    01/17/2025      20 L645     A105    515.00         0.30           154.50 Communicate (in firm) with Attorney Linsey regarding drafting
                                                                                            motion for summary judgment
                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor
       5248.001    01/17/2025      20 L645     A104    515.00         1.60           824.00 Review and analyze relevant pleadings and file material
                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor
       5248.001    01/20/2025      20 L645     A104    515.00         3.40         1,751.00 Review and analyze prior rulings concerning alter egos and Mei
                                                                                            Guo.
                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor
       5248.001    01/20/2025      20 L645     A103    515.00         1.70           875.50 Draft and revise memorandum in support of motion for
                                                                                            summary judgment.
                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor
       5248.001    01/21/2025      20 L645     A103    515.00         2.90         1,493.50 Draft and revise brief in support of motion for summary
                                                                                            judgment




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Phase ID L645 Mei Guo - 24-05036
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/22/2025      20 L645     A103   515.00         2.40         1,236.00 Draft/revise brief in support of motion for summary judgment
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/23/2025      68 L645     A105   445.00         0.40           178.00 Confer with R. Flynn regarding underlying records used for
                                                                                           avoidance action, request said records from A. Lomas, review
                                                                                           results
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/23/2025      20 L645     A108   515.00         0.30           154.50 Communicate (other external) with Kroll officials re
                                                                                           documentation of transfers to Mei Guo.
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/23/2025      20 L645     A104   515.00         0.60           309.00 Review/analyze transfer documentation.
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/23/2025      20 L645     A103   515.00         2.30         1,184.50 Draft and revise brief in support of motion for summary
                                                                                           judgment.
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/24/2025      20 L645     A103   515.00         2.60         1,339.00 Draft and revise motion for summary judgment.
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/27/2025      20 L645     A103   515.00         2.20         1,133.00 Draft summary judgment brief.
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/29/2025      20 L645     A103   515.00         1.20           618.00 Revise summary judgment brief.
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/30/2025      20 L645     A103   515.00         2.20         1,133.00 Draft brief in support of motion for summary judgment.
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/31/2025      20 L645     A103   515.00         0.90           463.50 Draft/revise and outline local rule 56a statement.
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor

Total for Phase ID L645                               Billable      27.30        14,017.50 Mei Guo - 24-05036

Phase ID L665 FFP (BVI) Limited - 24-05056
       5248.001    01/28/2025       41 L665    A105   520.00         0.30           156.00 Correspond with J. Graham regarding FFP motion to withdraw
                                                                                           the reference and opposition and preliminary review of motion
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/29/2025      82 L665     A104   515.00         0.40           206.00 Review/analyze incoming motion to withdraw reference and
                                                                                           discuss with Attorney Linsey
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/31/2025      82 L665     A102   515.00         2.10         1,081.50 Research issues of timeliness, cause for withdrawal of reference
                                                                                           under FFP facts and outline results for opposition
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/31/2025      82 L665     A101   515.00         0.70           360.50 Plan and prepare for response to motion for withdrawal of
                                                                                           reference
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor

Total for Phase ID L665                               Billable       3.50         1,804.00 FFP (BVI) Limited - 24-05056

Phase ID L686 American Express Company - 24-05077
       5248.001  01/07/2025      41 L686    A108      520.00         0.20          104.00
                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor
       5248.001    01/14/2025      41 L686     A108   520.00         0.20          104.00




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Phase ID L686 American Express Company - 24-05077

                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/28/2025      68 L686     A103   445.00         0.30          133.50 Correspond with P. Linsey regarding revisions needed to Amex
                                                                                          RFP, make said revisions and revert
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/28/2025      68 L686     A105   445.00         0.20           89.00 Correspond with K. Ahumada regarding finalization of
                                                                                          subpoena for P. Linsey
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/28/2025      41 L686     A108   520.00         0.60          312.00

                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/29/2025      41 L686     A108   520.00         0.30          156.00 Correspond with D. Laddin regarding AMEX request to be
                                                                                          carved out from avoidance deadlines extension (0.2),

                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor
       5248.001    01/30/2025      41 L686     A108   520.00         0.10           52.00
                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor

Total for Phase ID L686                               Billable       1.90          950.50 American Express Company - 24-05077

Phase ID L753 Premiere Accounting Solutions LTD - 24-05144
       5248.001   01/17/2025     70 L753     A101     220.00         0.20           44.00 Review draft certificate of service
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/17/2025      68 L753     A104   445.00         0.10           44.50 Review final certificate of service for filing
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor

Total for Phase ID L753                               Billable       0.30           88.50 Premiere Accounting Solutions LTD - 24-05144

Phase ID L755 Fortnum Information Security Limited - 24-05146
       5248.001    01/21/2025    68 L755     A103      445.00        1.10          489.50 Draft second amended complaint to incorporate additional
                                                                                          transfers from new AEs
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/22/2025      68 L755     A103   445.00         0.50          222.50 Revise amended complaint, correspond with P. Linsey
                                                                                          regarding edits
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/27/2025      41 L755     A103   520.00         0.70          364.00 Further revise avoidance complaint
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor

Total for Phase ID L755                               Billable       2.30         1,076.00 Fortnum Information Security Limited - 24-05146

Phase ID L770 Mandelli USA, Inc. - 24-05161
       5248.001  01/31/2025          5 L770    A103   505.00         0.40          202.00 Draft/revise amended complaint
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor

Total for Phase ID L770                               Billable       0.40          202.00 Mandelli USA, Inc. - 24-05161

Phase ID L788 Rising Sun Capital Ltd. - 24-05179
       5248.001    01/02/2025      68 L788     A103   445.00         2.10          934.50 Revise motion for default judgment and MOL in support of
                                                                                          same
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/03/2025      68 L788     A103   445.00         1.30          578.50 further revisions to MOL in support of motion for default




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Phase ID L788 Rising Sun Capital Ltd. - 24-05179
                                                                                          judgment
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/07/2025      68 L788     A103   445.00         0.90          400.50 Revise MOL in support of motion for default judgment
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor

Total for Phase ID L788                               Billable       4.30         1,913.50 Rising Sun Capital Ltd. - 24-05179

Phase ID L794 Structure Design Build LLC - 24-05185
       5248.001    01/08/2025       8 L794     A111   570.00         0.30          171.00

                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor

Total for Phase ID L794                               Billable       0.30          171.00 Structure Design Build LLC - 24-05185

Phase ID L795 Berkeley Rowe Limited - 24-05186
       5248.001   01/05/2025      41 L795    A107     520.00         0.30          156.00 Correspond with D. Barron regarding Berkeley Rowe MTD
                                                                                          briefing/issues
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/31/2025       5 L795     A103   505.00         1.70          858.50 Draft and revise Amended Complaint
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor

Total for Phase ID L795                               Billable       2.00         1,014.50 Berkeley Rowe Limited - 24-05186

Phase ID L803 McManimon, Scotland & Baumann, LLC - 24-05194
       5248.001  01/03/2025     41 L803  A108      520.00            0.50          260.00



                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/05/2025      41 L803     A108   520.00         0.20          104.00 Correspond with S. Placona regarding status and next steps
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/13/2025      41 L803     A104   520.00         0.20          104.00 Review letter to Court withdrawing as joint defendant and
                                                                                          correspond with S. Placona regarding same
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/16/2025      41 L803     A104   520.00         0.20          104.00

                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor

Total for Phase ID L803                               Billable       1.10          572.00 McManimon, Scotland & Baumann, LLC - 24-05194

Phase ID L822 Georgiou Payne Stewien LLP a/k/a GPS McQuhae LLP - 24-05213
       5248.001   01/16/2025     41 L822    A104     520.00        0.20            104.00

                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor

Total for Phase ID L822                               Billable       0.20          104.00 Georgiou Payne Stewien LLP a/k/a GPS McQuhae LLP - 24-05213

Phase ID L827 Hou Yuan Chan - 24-05218
       5248.001   01/17/2025     70 L827       A101   220.00         0.20           44.00 Review draft certificate of service
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/17/2025      68 L827     A104   445.00         0.10           44.50 Review final certificate of service for filing
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor




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Phase ID L827 Hou Yuan Chan - 24-05218

Total for Phase ID L827                               Billable       0.30           88.50 Hou Yuan Chan - 24-05218

Phase ID L830 Gypsy Mei Food Services LLC - 24-05221
       5248.001   01/15/2025     68 L830      A103   445.00          0.60          267.00 Review filings to prepare for drafting of Motion for Summary
                                                                                          Judgment
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/15/2025      68 L830     A105   445.00         0.40          178.00 Confer with P. Linsey regarding motion for summary judgment,
                                                                                          correspond with P. Linsey and R. Flynn regarding same
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/15/2025      41 L830     A105   520.00         0.30          156.00 Confer with K. Mitchell regarding motion for summary
                                                                                          judgment
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/16/2025      68 L830     A105   445.00         0.30          133.50 Confer with P. Linsey and R. Flynn regarding motion for
                                                                                          summary judgment and next steps
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/16/2025      41 L830     A105   520.00         0.80          416.00 Confer with K. Mitchell and R. Flynn regarding motion for
                                                                                          summary judgment (0.3), memorandum to R. Flynn regarding
                                                                                          summary judgment motion (0.5)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/17/2025      68 L830     A105   445.00         0.10           44.50 Correspond with P. Linsey regarding underlying documents
                                                                                          related to transfers in complaint
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor

Total for Phase ID L830                               Billable       2.50         1,195.00 Gypsy Mei Food Services LLC - 24-05221

Phase ID L834 Cirrus Design Corporation - 24-05225
       5248.001    01/09/2025     41 L834     A103    520.00         6.00         3,120.00 Draft/work on sealing and notice motion to create procedure
                                                                                           for judgment enforcement relief (4.1), proof and revise sealing
                                                                                           and notice motion (0.5), work on revisions to judgment
                                                                                           enforcement motion in light of sealing procedure and draft
                                                                                           interim and final proposed orders (1.2), correspond with trustee
                                                                                           regarding motions (0.2)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/12/2025      41 L834     A105   520.00         0.40           208.00 Correspond with trustee regarding trustee comments on
                                                                                           motions and procedures to obtain relief
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/14/2025      41 L834     A103   520.00         1.90           988.00 Further revise motion to enforce judgment and sealing/notice
                                                                                           motion based on trustee comments (1.6), correspond with
                                                                                           trustee regarding revised motions (0.1), correspond with N.
                                                                                           Bassett regarding revised motions (0.2)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/16/2025      70 L834     A101   220.00         0.30            66.00 Insert exhibit cover pages into exhibits for enforcement of
                                                                                           judgment motion
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/16/2025      68 L834     A103   445.00         1.20           534.00 Review and revise motion to enforce judgment (.4), correspond
                                                                                           with K. Ahumada regarding exhibits (.2), draft declaration to
                                                                                           motion (.6)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/16/2025      68 L834     A105   445.00         0.20            89.00 Correspond with P. Linsey regarding draft declaration to
                                                                                           motion to enforce and exhibits
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor




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Phase ID L834 Cirrus Design Corporation - 24-05225
       5248.001    01/16/2025     68 L834     A103   445.00       0.30           133.50 Confer with P. Linsey regarding exhibits to motion to enforce
                                                                                        jdgmt, revise declaration accordingly
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/16/2025     41 L834    A107    520.00       0.40           208.00 Correspond with N. Bassett regarding motion to enforce Qiang
                                                                                        Guo judgment (0.2), confer with K. Mitchell regarding
                                                                                        declaration (0.2)
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/17/2025     68 L834    A103    445.00       0.30           133.50 Revise Motion for Entry of Orders to enforce judgment,
                                                                                        correspond with P. Linsey regarding same
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/21/2025     68 L834    A104    445.00       0.60           267.00 Review and revise Linsey Decl regarding origination of exhibits
                                                                                        (.5), correspond with P. Linsey regarding same (.1)
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/21/2025     68 L834    A104    445.00       0.20            89.00 Check Wings Insurance website for legal name for declaration,
                                                                                        respond to inquiry from P. Linsey regarding same.
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/21/2025     68 L834    A105    445.00       0.30           133.50 Confer with P. Linsey and K. Ahumada regarding final filing
                                                                                        versions of motion to enforce and procedure to file
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/21/2025     70 L834    A101    220.00       0.70           154.00 Telephone call with Attorney Mitchell regarding Motion to
                                                                                        Enforce Judgment (.2); edit and re-format drafts (.2); follow-up
                                                                                        telephone call with Attorney Mitchell regarding exhibits to
                                                                                        Linsey Declaration (.1); put together and organize motion and
                                                                                        send to Attorney Linsey and Mitchell for review (.2)
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/21/2025     68 L834    A104    445.00       0.40           178.00 Review motion to enforce and accompanying pleadings
                                                                                        prepared by K. Ahumada, correspond with K. Ahumada
                                                                                        regarding edit, correspond with P. Linsey regarding filing of
                                                                                        same
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/21/2025     70 L834    A101    220.00       0.10            22.00 File motion and notice of sealed filing in adversary proceeding
                                                                                        and main case
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/21/2025     41 L834    A106    520.00       4.10         2,132.00 Correspond with trustee and N. Bassett regarding notice to
                                                                                        Cirrus (0.1), correspond and confer with R. Bernard regarding
                                                                                        enforcement of judgment (0.2), correspond with R. Bernard
                                                                                        regarding turnover motion and confidentiality (0.2), correspond
                                                                                        with trustee regarding waiver of bond (0.1), revise/work on
                                                                                        Linsey declaration (0.8), correspond and confer with K. Mitchell
                                                                                        regarding evidence/exhibits for default judgment motion (0.4),
                                                                                        work on/revise turnover motion (0.8), work on/revise notice
                                                                                        and sealing motion (0.6), draft language requesting expedited
                                                                                        consideration and correspond with trustee regarding same
                                                                                        (0.3), correspond with K. Mitchell and K. Ahumada regarding
                                                                                        preparing two sets of turnover and notice and sealing motion
                                                                                        papers (0.3), further revise declaration and correspond with K.
                                                                                        Ahumada regarding finalizing/filing turnover and
                                                                                        notice/sealing motions (0.3)
                                                                                        Despins, Ch 11 Trustee/Luc A.
                                                                                        Ho Wan Kwok, Debtor
       5248.001    01/24/2025     41 L834    A104    520.00       1.50           780.00 Review and analyze court orders regarding motions to enforce
                                                                                        judgment (0.5), confer with trustee regarding same (0.1), brief
                                                                                        research regarding court's orders (0.3), draft memorandum to
                                                                                        trustee and N. Bassett regarding initial thoughts on next steps
                                                                                        (0.6)




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Phase ID L834 Cirrus Design Corporation - 24-05225
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/27/2025      41 L834     A107   520.00         0.40          208.00 Confer with N. Bassett regarding enforcement of judgment and
                                                                                          revised motion
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/31/2025      70 L834     A101   220.00         0.80          176.00 Draft DOI Form and Exemption Claim Form for filing; send to
                                                                                          Attorney Linsey for review
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/31/2025      41 L834     A105   520.00         0.30          156.00 Correspond and confer with K. Ahumada regarding revising
                                                                                          state court forms for use in federal proceedings
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor

Total for Phase ID L834                               Billable      20.40         9,775.50 Cirrus Design Corporation - 24-05225

Phase ID L838 Marcum LLP - 24-05229
       5248.001   01/13/2025     41 L838       A106   520.00         0.20          104.00

                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor

Total for Phase ID L838                               Billable       0.20          104.00 Marcum LLP - 24-05229

Phase ID L847 Qiang Guo - 24-05238
       5248.001   01/17/2025     41 L847       A107   520.00         0.50          260.00 Confer with N. Bassett regarding modifying partial stay as to
                                                                                          Qiang Guo claims (0.2), assemble materials to prepare motion
                                                                                          to modify litigation stay and correspond with N. Bassett
                                                                                          regarding same (0.3)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor

Total for Phase ID L847                               Billable       0.50          260.00 Qiang Guo - 24-05238

Phase ID L854 RM Auctions Deutschland GmbH - 24-05245
       5248.001   01/16/2025     41 L854  A104     520.00            0.40          208.00 Analyze claims (0.2),

                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor

Total for Phase ID L854                               Billable       0.40          208.00 RM Auctions Deutschland GmbH - 24-05245

Phase ID L865 Scarabaeus Wealth Management AG - 24-05250
       5248.001   01/29/2025     41 L865  A104     520.00            0.30          156.00 Attention to status of avoidance action and correspond with
                                                                                          counsel for defendant regarding status
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor

Total for Phase ID L865                               Billable       0.30          156.00 Scarabaeus Wealth Management AG - 24-05250

Phase ID L867 Gettr USA, Inc. - 24-05252
       5248.001    01/17/2025       68 L867    A103   445.00         0.50          222.50 Attention to amended avoidance complaint
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/31/2025       5 L867     A103   505.00         1.60          808.00 Draft and revise amended complaint
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor

Total for Phase ID L867                               Billable       2.10         1,030.50 Gettr USA, Inc. - 24-05252

Phase ID L869 NAV Consulting Inc. - 24-05254
       5248.001  01/30/2025        41 L869   A105     520.00         0.30          156.00 Correspond with R. Flynn and correspond and confer with B.
                                                                                          Gilbert regarding status and attention to status of action




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Phase ID L869 NAV Consulting Inc. - 24-05254
                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor

Total for Phase ID L869                               Billable       0.30          156.00 NAV Consulting Inc. - 24-05254

Phase ID L917 Cameron Smee - 24-05271
       5248.001  01/16/2025      41 L917       A104   520.00         0.20          104.00

                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor

Total for Phase ID L917                               Billable       0.20          104.00 Cameron Smee - 24-05271

Phase ID L922 Kin Ming Je - 24-05274
       5248.001   01/21/2025      68 L922      A103   445.00         0.90          400.50 Draft amended complaint with updated information provided
                                                                                          by Kroll and updated case information
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/31/2025       5 L922     A103   505.00         1.40          707.00 Draft and revise amended complaint
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor

Total for Phase ID L922                               Billable       2.30         1,107.50 Kin Ming Je - 24-05274

Phase ID L923 Sin Ting Rong - 24-05274
       5248.001    01/31/2025      5 L923      A103   505.00         1.40          707.00 Draft and revise amended complaint
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor

Total for Phase ID L923                               Billable       1.40          707.00 Sin Ting Rong - 24-05274

Phase ID L931 Alter Ego – 24-05249
       5248.001    01/03/2025      68 L931     A103   445.00         3.70         1,646.50 Revise MOL in support of default judgment
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/03/2025      68 L931     A105   445.00         0.20            89.00 Confer and correspond with P. Linsey regarding draft/revisions
                                                                                           to MOL in support of default judgment motion.
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/03/2025      41 L931     A104   520.00         0.40           208.00 Review and analyze draft motion for default judgment and
                                                                                           correspond with K. Mitchell regarding further work required on
                                                                                           same
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/06/2025      68 L931     A105   445.00         0.10            44.50 F/U with P. Linsey regarding draft motion for default judgment
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/27/2025      70 L931     A101   220.00         0.20            44.00 File motion for Chapter 11 Trustee to appear remotely
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/27/2025      68 L931     A103   445.00         3.60         1,602.00 Draft outline of argument for MOL in support of default
                                                                                           judgment
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/27/2025      68 L931     A105   445.00         0.20            89.00 Confer with P. Linsey regarding formatting and substance
                                                                                           needed for argument outline
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/27/2025      68 L931     A105   445.00         0.30           133.50 Confer with P. Linsey regarding status of memorandum of law,
                                                                                           sections that need updating, and timeline
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/27/2025      68 L931     A104   445.00         0.40           178.00 Review draft of memorandum in support of motion for default
                                                                                           judgment, notes to file for revision needed to outline




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                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/27/2025        41 L931   A103   520.00         5.30         2,756.00 Work on memorandum of law in support of motion for default
                                                                                           judgment (3.3), confer with K. Mitchell regarding default
                                                                                           judgment motion (0.2), research regarding Hong Kong bare
                                                                                           trustee claim (0.6), confer further with K. Mitchell regarding
                                                                                           default judgment motion/summary chart regarding defendants
                                                                                           (0.2), further revise memorandum of law (0.8), confer and
                                                                                           correspond with D. Barron regarding hearing on motions to
                                                                                           dismiss and default judgment motion (0.2)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/28/2025        68 L931   A103   445.00         1.90           845.50 Con't revisions to outline of argument (1.8), correspond with P.
                                                                                           Linsey regarding same (.1)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/28/2025        68 L931   A103   445.00         2.50         1,112.50 Review and revise MOL in support of motion for default
                                                                                           judgment
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor

Total for Phase ID L931                               Billable      18.80         8,748.50 Alter Ego – 24-05249

Phase ID L932 Defeng Cao 24-05001
       5248.001   01/14/2025     54 L932       A104   375.00         0.40          150.00 Review e-mails regarding Kwok's vehicles from Defeng Cao in
                                                                                          advance of preparing for summary judgment
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/20/2025        19 L932   A108   500.00         0.60          300.00 Multiple correspondence with process server regarding proof
                                                                                          of service for subpoenas to NJ, CT, and VA dealerships (0.4);
                                                                                          correspond with Attorney Linsey and Attorney Mitchell
                                                                                          regarding outstanding subpoenas (0.2).
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/29/2025        19 L932   A104   500.00         0.80          400.00 Review/analyze subpoena compliance from PAG New Jersey
                                                                                          (0.6); correspond with Attorney Mitchell and Attorney Linsey
                                                                                          regarding the same (0.2).
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/30/2025        68 L932   A104   445.00         0.30          133.50 Review production from PAG New Jersey, correspond with D.
                                                                                          Carnelli and P. Linsey, arrange for upload to ULX
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor

Total for Phase ID L932                               Billable       2.10          983.50 Defeng Cao 24-05001

Phase ID L934 ACASS U.S.A. Inc – 24-05282
       5248.001  01/02/2025        82 L934     A102   515.00         2.80         1,442.00 Research issues regarding election of remedies and ratification,
                                                                                           international registration and priority system
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/03/2025        68 L934   A108   445.00         0.10            44.50 Correspond with P. Linsey and K. Ahumada regarding obj
                                                                                           deadline to motion to w/d reference
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/03/2025        70 L934   A101   220.00         0.20            44.00 Calendar date for trustee to file opposition to defendants
                                                                                           motion for withdrawal of bankruptcy reference; draft and send
                                                                                           e-mail to D. Mohammed at Paul Hastings regarding same and
                                                                                           request to calendar
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/03/2025        82 L934   A105   515.00         0.60           309.00 Communicate with Attorney Linsey regarding arguments to be
                                                                                           made in response to Motion to Dismiss and division of labor
                                                                                           Despins, Ch 11 Trustee/Luc A.




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Phase ID L934 ACASS U.S.A. Inc – 24-05282
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/03/2025     82 L934    A102   515.00       4.10         2,111.50 Research and analysis of issues regarding sufficiency of
                                                                                       pleadings under sec 549, 550, property of estate, law of the
                                                                                       case, judicial notice, ratification/election of remedies;
                                                                                       retroactivity, choice of law
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/03/2025     41 L934    A105   520.00       1.40           728.00 Correspond with J. Graham regarding oppositions due (0.1),
                                                                                       research regarding beneficial ownership issues/alternatives and
                                                                                       correspond with J. Graham regarding same (0.7), confer with J.
                                                                                       Graham regarding oppositions (0.6)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/05/2025     82 L934    A104   515.00       3.60         1,854.00 Analysis of issues regarding data on registration offered by
                                                                                       ACASS, including confirmation of immediate resale and
                                                                                       limitation as to date of completed , and significance of
                                                                                       confirmation of escrow funding as to completion of closing
                                                                                       under APA (1.2); drafting of argument (2.4)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/06/2025     82 L934    A103   515.00       3.20         1,648.00 Marshal facts and work on opposition to motion to dismiss
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/07/2025     82 L934    A105   515.00       0.10            51.50 Communicate with Attorney Linsey regarding status, Motion to
                                                                                       Extend Time
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/07/2025     82 L934    A104   515.00       3.80         1,957.00 Review/analyze additional cases and work on opposition to
                                                                                       Motion to Dismiss
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/07/2025     41 L934    A108   520.00       0.60           312.00 Correspond with R. Connelly and J. Sklarz regarding request for
                                                                                       extension of time to object to MTD (0.2), confer with J. Graham
                                                                                       regarding opposition to MTD (0.3), correspond with K. Mitchell
                                                                                       regarding motion to extend time (0.1)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025     68 L934    A103   445.00       0.40           178.00 Draft motion to extend time to respond to Motion to Dismiss
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025     68 L934    A103   445.00       0.20            89.00 Finalize motion to extend for filing, correspond with P. Linsey
                                                                                       regarding same
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025     68 L934    A105   445.00       0.20            89.00 Correspond and confer with K. Ahumada regarding filing of
                                                                                       Motion to Extend
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/08/2025     82 L934    A103   515.00       3.50         1,802.50 Draft/revise opposition to motion to dismiss
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/09/2025     82 L934    A103   515.00       4.00         2,060.00 Draft/revise opposition to motion to dismiss
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/10/2025     82 L934    A103   515.00       2.80         1,442.00 Drafting opposition papers
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/12/2025     82 L934    A102   515.00       0.60           309.00 Research and analysis of provisions of Cape Town Treaty for
                                                                                       Secs 549, 550 purposes
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/12/2025     82 L934    A103   515.00       3.70         1,905.50 Draft arguments for opposition to motion to dismiss
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor




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       5248.001  01/13/2025        82 L934   A103   515.00       4.20         2,163.00 Revisions to opposition to Motion to Dismiss and update
                                                                                       research
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/14/2025     82 L934    A103   515.00       5.90         3,038.50 Draft/revise arguments for opp to Motion to Dismiss (property
                                                                                       of estate, sufficiency of factual allegations, law of the case,
                                                                                       retroactivity, Cape Town Treaty)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/15/2025     82 L934    A103   515.00       4.60         2,369.00 Draft/revise opposition to Motion to Dismiss
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/15/2025     82 L934    A102   515.00       2.00         1,030.00 Initial research on mandatory withdrawal of the reference for
                                                                                       opposition to ACASS USA motion
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/16/2025     70 L934    A101   220.00       0.20            44.00 Review upcoming deadlines and draft e-mail Attorney Linsey
                                                                                       and Graham with updates
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/16/2025     70 L934    A101   220.00       0.20            44.00 E-mail Attorney Graham defendants Motion to Withdraw and
                                                                                       send district court case number
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/16/2025     82 L934    A102   515.00       4.20         2,163.00 Research and outline for opposition for mandatory withdrawal
                                                                                       of the reference, and begin drafting
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/17/2025     82 L934    A103   515.00       5.20         2,678.00 Work on opposition to motion for mandatory withdrawal of the
                                                                                       reference
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/17/2025     41 L934    A103   520.00       7.10         3,692.00 Draft/revise procedural history and discussion of Mei Guo A.P.
                                                                                       and complaint for opposition to motion to dismiss (2.6),
                                                                                       draft/revise argument regarding law of the case for opposition
                                                                                       to motion to dismiss (0.8), research regarding conflicts of law
                                                                                       to respond to motion to dismiss argument (1.5), draft/revise
                                                                                       argument on conflicts of law issue for opposition to motion to
                                                                                       dismiss (2.2)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/18/2025     41 L934    A102   520.00       7.50         3,900.00 Research regarding ratification/election of remedies argument
                                                                                       (2.3), draft/revise opposition to motion to dismiss on grounds
                                                                                       of purported ratification (2.5), draft/revise argument in
                                                                                       opposition to equitable remedy/nunc pro tunc argument in
                                                                                       motion to dismiss (1.4), research regarding tax cases/nominee
                                                                                       ownership arguments (0.8), research regarding equitable
                                                                                       remedy/nunc pro tunc issue (0.5)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/19/2025     82 L934    A103   515.00       1.20           618.00 Research and draft opposition to motion for mandatory
                                                                                       withdrawal of reference
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/19/2025     82 L934    A106   515.00       0.20           103.00 Telephone conference with Attorney Linsey regarding content
                                                                                       of opposition to motion to dismiss as to Cape Town Treaty
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/19/2025     41 L934    A102   520.00       7.60         3,952.00 Research standards applicable to analyzing preclusion as
                                                                                       between bankruptcy code and federal statutes (1.5), research
                                                                                       regarding legislative history of Cape Town Treaty (0.6), draft
                                                                                       argument responding to motion to dismiss complaint on
                                                                                       account of Cape Town Treaty (3.6), work on/revise opposition
                                                                                       to motion to dismiss complaint (1.2), draft preliminary




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Phase ID L934 ACASS U.S.A. Inc – 24-05282
                                                                                       statement (0.5), correspond with N. Bassett regarding
                                                                                       opposition to motion to dismiss (0.2)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/20/2025     68 L934    A105   445.00       0.30           133.50 Confer with P. Linsey regarding documents showing closing of
                                                                                       aircraft
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/20/2025     68 L934    A104   445.00       1.80           801.00 Review Relativity for documents related to closing of aircraft
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/20/2025     82 L934    A102   515.00       3.80         1,957.00 Research and drafting opposition to motion to withdraw
                                                                                       reference
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/20/2025     82 L934    A105   515.00       0.50           257.50 Communicate with Attorney Linsey about structure of
                                                                                       arguments in motion to withdraw reference. application of
                                                                                       Cape Town Treaty to Sec 549 claim
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/20/2025     41 L934    A105   520.00       1.50           780.00 Confer with J. Graham regarding oppositions to motion to
                                                                                       dismiss and motion to withdraw the reference (0.6), research
                                                                                       mandatory withdrawal of reference and review cases (0.5),
                                                                                       correspond with J. Graham regarding withdrawal of reference
                                                                                       analysis (0.4)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/21/2025     68 L934    A104   445.00       1.80           801.00 Con't review of Relativity for documents relating to closing of
                                                                                       aircraft
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/21/2025     68 L934    A105   445.00       0.20            89.00 Provide review of aircraft closing/escrow funds finding to P.
                                                                                       Linsey
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/21/2025     68 L934    A105   445.00       0.20            89.00 Confer with K. Ahumada regarding opp to motion to dismiss
                                                                                       and objection to motion to wd the reference
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/21/2025     70 L934    A101   220.00       1.20           264.00 Draft table of contents and table of authorities for
                                                                                       memorandum of law in opposition to motion
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/21/2025     68 L934    A103   445.00       0.60           267.00 Draft motion to seal opposition to Motion to Dismiss (.5),
                                                                                       correspond with P. Linsey regarding same (.1)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/21/2025     68 L934    A103   445.00       0.70           311.50 Review and revise opposition to Motion to Dismiss
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/21/2025     68 L934    A103   445.00       1.00           445.00 Further review and revise opposition to Motion to Dismiss,
                                                                                       correspond and confer with P. Linsey regarding same
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/21/2025     68 L934    A104   445.00       0.50           222.50 Review exhibits and origination for sealing/unsealing
                                                                                       designations, revise opp to reflect changes
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/21/2025     82 L934    A103   515.00       4.20         2,163.00 Draft/revise opposition to motion to withdraw reference and
                                                                                       update research on legal standard, operation of Cape Town
                                                                                       Treaty
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/21/2025     41 L934    A104   520.00       4.70         2,444.00 Attention to N. Bassett comments on opposition to motion to




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                                                                                       dismiss and incorporate same (0.6), draft argument regarding
                                                                                       Article 30 (0.4), correspond with trustee regarding revised
                                                                                       opposition (0.3), work on opposition to MTD to address trustee
                                                                                       comments (0.3), proof/revise opposition to motion to dismiss
                                                                                       (1.2), correspond and confer with K. Mitchell regarding
                                                                                       opposition to motion to dismiss and TOC/TOA and other items
                                                                                       to finalize (0.3), correspond with N. Bassett regarding potential
                                                                                       district court citation regarding judicial notice (0.2), revise/work
                                                                                       on motion to seal (0.7), finalize opposition/sealed
                                                                                       opposition/motion to seal and attention to filings same (0.4),
                                                                                       correspond with defendant's counsel regarding MTD
                                                                                       opposition filings (0.1), correspond with J. Graham regarding
                                                                                       MTD opposition and opposition to motion to withdraw
                                                                                       reference (0.2)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/22/2025     68 L934    A104   445.00       0.50           222.50 Prepare exhibits package containing sealed exhibits for
                                                                                       opposing counsel, correspond with P. Linsey regarding same
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/22/2025     82 L934    A103   515.00       1.40           721.00 Draft/revise opposition to motion to withdraw reference
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/22/2025     41 L934    A102   520.00      10.90         5,668.00 Research regarding mandatory withdrawal of reference/review
                                                                                       and analyze numerous decisions from within circuit (2.4), work
                                                                                       on/revise opposition to motion to withdraw reference (4.3),
                                                                                       correspond with J. Graham regarding opposition to motion to
                                                                                       withdraw reference (0.2), work on distilled merits argument for
                                                                                       opposition to motion to withdraw reference (1.7), attention to
                                                                                       case law citing Cape Town treaty for opposition to motion to
                                                                                       withdraw reference (0.6), work on opposition to motion to
                                                                                       withdraw reference (1.5), correspond with N. Bassett regarding
                                                                                       opposition to motion to withdraw reference (0.2)
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/23/2025     70 L934    A101   220.00       0.30            66.00 Draft redactions to seal amended complaints and send back to
                                                                                       Attorney Linsey
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/23/2025     68 L934    A103   445.00       0.70           311.50 Draft notice of related proceedings, correspond with P. Linsey
                                                                                       and J. Graham regarding same
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/23/2025     68 L934    A105   445.00       0.20            89.00 Confer with P. Linsey regarding notice of related proceedings
                                                                                       and edits needed
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/23/2025     68 L934    A103   445.00       0.20            89.00 Revise notice of related proceedings pursuant to comments
                                                                                       from P. Linsey
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/23/2025     82 L934    A104   515.00       0.40           206.00 Review revised draft opposition
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/23/2025     82 L934    A104   515.00       0.50           257.50 Review court docket and note new judge assignment and
                                                                                       chambers rules and advise re revision to caption, need for
                                                                                       notice of related proceeding
                                                                                       Despins, Ch 11 Trustee/Luc A.
                                                                                       Ho Wan Kwok, Debtor
       5248.001    01/23/2025     41 L934    A103   520.00       3.50         1,820.00 Proof/revise opposition to motion to withdraw reference (0.5),
                                                                                       correspond with N. Bassett and trustee regarding opposition to
                                                                                       motion to withdraw reference (0.2), correspond with J. Graham
                                                                                       regarding judge assigned to motion (0.2), revise opposition to
                                                                                       motion to withdraw the reference to include background based




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Phase ID L934 ACASS U.S.A. Inc – 24-05282
                                                                                               on Judge Williams assignment (0.9), correspond and confer
                                                                                               with K. Mitchell regarding notice of related proceedings (0.2),
                                                                                               revise notice of related proceedings (0.4), correspond with K.
                                                                                               Mitchell regarding filing appearances and PH appearances and
                                                                                               review same (0.2), draft amended opposition to MTD correcting
                                                                                               Article 30 citation (0.3), correspond with K. Ahumada regarding
                                                                                               redaction to pleading (0.1), attention to filing amended
                                                                                               opposition and notice (0.2), attention to exhibits cited in
                                                                                               opposition and correspond with defendant's counsel regarding
                                                                                               same (0.3)
                                                                                               Despins, Ch 11 Trustee/Luc A.
                                                                                               Ho Wan Kwok, Debtor

Total for Phase ID L934                                 Billable     127.60        64,646.50 ACASS U.S.A. Inc – 24-05282

Phase ID L950 The Golden Sealine Limited - 24-05308
       5248.001   01/17/2025       70 L950    A101      220.00         0.20           44.00 Review draft certificate of service
                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor
       5248.001    01/17/2025      68 L950     A104     445.00         0.10           44.50 Review final certificate of service for filing
                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor

Total for Phase ID L950                                 Billable       0.30           88.50 The Golden Sealine Limited - 24-05308

Phase ID L951 Haitong International Securities - 24-05309
       5248.001   01/17/2025      70 L951      A101     220.00         0.20           44.00 Review draft certificate of service
                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor
       5248.001    01/17/2025      68 L951     A104     445.00         0.10           44.50 Review final certificate of service for filing
                                                                                            Despins, Ch 11 Trustee/Luc A.
                                                                                            Ho Wan Kwok, Debtor

Total for Phase ID L951                                 Billable       0.30           88.50 Haitong International Securities - 24-05309

Phase ID L953 Bouillor Holdings Limited et al - 24-05311
       5248.001   01/02/2025       68 L953      A103     445.00        2.60         1,157.00
                                                                                               Despins, Ch 11 Trustee/Luc A.
                                                                                               Ho Wan Kwok, Debtor
       5248.001    01/02/2025      68 L953     A105     445.00         0.10           44.50

                                                                                               Despins, Ch 11 Trustee/Luc A.
                                                                                               Ho Wan Kwok, Debtor
       5248.001    01/11/2025      68 L953     A104     445.00         0.40          178.00

                                                                                               Despins, Ch 11 Trustee/Luc A.
                                                                                               Ho Wan Kwok, Debtor
       5248.001    01/27/2025      82 L953     A104     515.00         2.80         1,442.00

                                                                                               Despins, Ch 11 Trustee/Luc A.
                                                                                               Ho Wan Kwok, Debtor
       5248.001    01/27/2025      41 L953     A104     520.00         1.10          572.00




                                                                                               Despins, Ch 11 Trustee/Luc A.
                                                                                               Ho Wan Kwok, Debtor
       5248.001    01/28/2025      82 L953     A103     515.00         5.10         2,626.50
                                                                                               Despins, Ch 11 Trustee/Luc A.
                                                                                               Ho Wan Kwok, Debtor
       5248.001    01/28/2025      82 L953     A102     515.00         0.90          463.50
                                                                                               Despins, Ch 11 Trustee/Luc A.
                                                                                               Ho Wan Kwok, Debtor
       5248.001    01/28/2025      41 L953     A104     520.00         0.70          364.00




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Phase ID L953 Bouillor Holdings Limited et al - 24-05311




                                                                                                Despins, Ch 11 Trustee/Luc A.
                                                                                                Ho Wan Kwok, Debtor
       5248.001    01/29/2025      82 L953     A103        515.00       5.80         2,987.00
                                                                                                Despins, Ch 11 Trustee/Luc A.
                                                                                                Ho Wan Kwok, Debtor
       5248.001    01/29/2025      41 L953     A105        520.00       0.20          104.00
                                                                                                Despins, Ch 11 Trustee/Luc A.
                                                                                                Ho Wan Kwok, Debtor
       5248.001    01/30/2025      82 L953     A103        515.00       3.10         1,596.50

                                                                                                Despins, Ch 11 Trustee/Luc A.
                                                                                                Ho Wan Kwok, Debtor
       5248.001    01/30/2025      41 L953     A107        520.00       5.80         3,016.00




                                                                                                Despins, Ch 11 Trustee/Luc A.
                                                                                                Ho Wan Kwok, Debtor
       5248.001    01/31/2025      82 L953     A104        515.00       0.80          412.00

                                                                                                Despins, Ch 11 Trustee/Luc A.
                                                                                                Ho Wan Kwok, Debtor
       5248.001    01/31/2025      41 L953     A108        520.00       0.60          312.00




                                                                                                Despins, Ch 11 Trustee/Luc A.
                                                                                                Ho Wan Kwok, Debtor

Total for Phase ID L953                                Billable        30.00        15,275.00 Bouillor Holdings Limited et al - 24-05311

Phase ID L954 Boies Schiller Flexner LLP - 24-05313
       5248.001   01/07/2025        68 L954     A103       445.00       1.00           445.00 Revise opposition to motion to dismiss
                                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                                              Ho Wan Kwok, Debtor
       5248.001    01/08/2025      68 L954     A105        445.00       0.40           178.00 Confer with J. Graham regarding opposition to Motion to
                                                                                              Dismiss
                                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                                              Ho Wan Kwok, Debtor
       5248.001    01/08/2025      68 L954     A103        445.00       2.20           979.00 Revise and rework opposition to motion to dismiss
                                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                                              Ho Wan Kwok, Debtor
       5248.001    01/08/2025      68 L954     A102        445.00       1.00           445.00 Research regarding actual fraudulent intent
                                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                                              Ho Wan Kwok, Debtor
       5248.001    01/08/2025      68 L954     A102        445.00       0.90           400.50 Outline and notes for opposition to MTD
                                                                                              Despins, Ch 11 Trustee/Luc A.
                                                                                              Ho Wan Kwok, Debtor
       5248.001    01/09/2025      68 L954     A103        445.00       3.40         1,513.00 Revise opposition to motion to dismiss (3.2), correspond with




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Phase ID L954 Boies Schiller Flexner LLP - 24-05313
                                                                                           P. Linsey regarding same (.2)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/10/2025      41 L954     A104   520.00         3.70         1,924.00 Review and analyze Boies motion to dismiss (0.5), draft outline
                                                                                           for refined argument in opposition brief and correspond with
                                                                                           trustee regarding same (0.6), begin working on/revising
                                                                                           opposition brief (2.6)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/12/2025      41 L954     A103   520.00         7.90         4,108.00 Work on opposition to Boies motion to dismiss (5.3), research
                                                                                           regarding Boies arguments re: antecedent debt/compelled
                                                                                           transfer/FT vs. preference (1.7), correspond with trustee
                                                                                           regarding opposition brief (0.3), proof/revise opposition brief
                                                                                           (0.6)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/13/2025      68 L954     A103   445.00         0.30           133.50 Draft withdrawal notice of stay designation, correspond with P.
                                                                                           Linsey regarding same
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/13/2025      68 L954     A103   445.00         0.80           356.00 Review and revise opposition to Motion to Dismiss, correspond
                                                                                           with K. Ahumada regarding TOC and TOA
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/13/2025      70 L954     A101   220.00         1.20           264.00 Draft Table of Contents and Table of Authorities for opposition
                                                                                           to Motion to Dismiss
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/13/2025      68 L954     A105   445.00         0.20            89.00 Confer with K. Ahumada regarding draft opposition
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/13/2025      68 L954     A103   445.00         0.60           267.00 Review TOC and TOA on opposition to Motion to Dismiss,
                                                                                           correspond with P. Linsey
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/13/2025      68 L954     A103   445.00         0.20            89.00 Revise notice of w/d of stay designation, correspond with P.
                                                                                           Linsey regarding same
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/13/2025      68 L954     A103   445.00         0.30           133.50 Final review of opposition to Motion to Dismiss, correspond
                                                                                           with P. Linsey regarding filing of same
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/13/2025      41 L954     A103   520.00         3.00         1,560.00 Draft memorandum to trustee summarizing relationship
                                                                                           between debtor and defendant and analyzing defendant's
                                                                                           services and analyze pleadings from debtor litigations and
                                                                                           arbitration pleadings in formulating same (0.9), revise
                                                                                           opposition to motion to dismiss based on trustee comments
                                                                                           (0.8), correspond and confer with K. Mitchell regarding
                                                                                           opposition to MTD and withdrawal of stay designation notice
                                                                                           (0.2), review draft withdrawal of stay designation notice and
                                                                                           revise same (0.2), attention to further revised MTD opposition
                                                                                           and proof/revise same (0.6), correspond with trustee regarding
                                                                                           revised opposition (0.1), correspond with K. Mitchell regarding
                                                                                           finalizing/filing opposition (0.2)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor

Total for Phase ID L954                               Billable      27.10        12,884.50 Boies Schiller Flexner LLP - 24-05313

Phase ID L961 Birchstone Capital AG - 24-05290
       5248.001    01/17/2025      70 L961    A101    220.00         0.20            44.00 Review draft certificate of service
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor




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                          Trans                                     Hours
          Client           Date   Tkpr Task Code         Rate       to Bill       Amount
Phase ID L961 Birchstone Capital AG - 24-05290
       5248.001    01/17/2025      68 L961    A104    445.00         0.10           44.50 Review final certificate of service for filing
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor

Total for Phase ID L961                               Billable       0.30           88.50 Birchstone Capital AG - 24-05290

Phase ID L966 Norris McLaughling P.A. - 24-05317
       5248.001   01/29/2025      41 L966    A104     520.00         0.30          156.00 Attention to defendant's request for additional extension of
                                                                                          time and status and correspond with S. Kossar regarding same
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor

Total for Phase ID L966                               Billable       0.30          156.00 Norris McLaughling P.A. - 24-05317

Phase ID L967 Updike, Kelly & Spellacy - 25-05003
       5248.001   01/10/2025       68 L967    A105    445.00         0.30           133.50 Multiple correspondence with P. Linsey, D. Skalka, and L.
                                                                                           Astone regarding draft avoidance complaint
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/13/2025      68 L967     A105   445.00         0.10            44.50 Correspond with P. Linsey regarding draft avoidance complaint.
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/14/2025      70 L967     A101   220.00         0.40            88.00 Phone call with Attorney Linsey regarding draft complaint (.2);
                                                                                           review and revise section of draft complaint and send back to
                                                                                           Attorney Linsey for review (.2)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/14/2025      70 L967     A101   220.00         0.20            44.00 Prepare complaint for filing; draft cover sheet; send to Attorney
                                                                                           Linsey for review
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/14/2025      68 L967     A105   445.00         0.10            44.50 Correspond with P. Linsey and K. Ahumada regarding filing of
                                                                                           complaint
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/14/2025      70 L967     A101   220.00         0.20            44.00 File complaint
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/14/2025      41 L967     A106   520.00         3.20         1,664.00 Correspond and confer with trustee regarding trustee
                                                                                           comments to avoidance complaint (0.3), review and analyze
                                                                                           histories of Greenwich Land/Hing Chi Ngok Rule 2004
                                                                                           discovery and Adversary Proceeding in light of trustee
                                                                                           comments regarding draft avoidance complaint (0.6), revise
                                                                                           Updike complaint per trustee comments (1.1), correspond with
                                                                                           trustee regarding revised complaint (0.2), further revise Updike
                                                                                           complaint per additional comments and correspond with
                                                                                           trustee regarding same (0.4), correspond and confer with K.
                                                                                           Ahumada regarding fling complaint (0.2), attention to finalizing
                                                                                           complaint (0.2), correspond with E. Goldstein regarding
                                                                                           complaint (0.1), correspond with K. Mitchell regarding
                                                                                           service/next steps (0.1)
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/15/2025      70 L967     A101   220.00         0.20            44.00 Draft and file appearance for Attorney Mitchell
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/15/2025      68 L967     A105   445.00         0.20            89.00 Correspond with K. Ahumada regarding appearance and filing
                                                                                           of same
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/16/2025      68 L967     A104   445.00         0.10            44.50 Review docket for issuance of summons
                                                                                           Despins, Ch 11 Trustee/Luc A.
                                                                                           Ho Wan Kwok, Debtor
       5248.001    01/21/2025      68 L967     A104   445.00         0.20            89.00 Review docket for summons, correspond with P. Linsey




KDA                                                                                                                                    Monday 03/24/2025 11:36 am
            Case 22-50073
Date: 03/24/2025
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                                                          Detail Fee Task Code Billing Report
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                          Trans                                     Hours
          Client           Date   Tkpr Task Code         Rate       to Bill       Amount
Phase ID L967 Updike, Kelly & Spellacy - 25-05003
                                                                                          regarding same
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/21/2025      70 L967     A101   220.00         0.20           44.00 Serve complaint and summons on defendant
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/22/2025      68 L967     A105   445.00         0.20           89.00 Correspond with K. Ahumada regarding status of service of
                                                                                          complaint and summons
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/22/2025      68 L967     A105   445.00         0.20           89.00 Further correspond with K. Ahumada and P. Linsey regarding
                                                                                          summons and complaint service and timing of same
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/23/2025      70 L967     A101   220.00         0.30           66.00 Draft Notice of Avoidance Procedures for filing
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/23/2025      70 L967     A101   220.00         0.50          110.00 Telephone call with Attorney Mitchell regarding service of
                                                                                          complaint and summons on defendant and filing of Notice of
                                                                                          Avoidance Procedures
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/23/2025      68 L967     A105   445.00         0.50          222.50 Confer with K. Ahumada regarding notice of applicability of
                                                                                          avoidance procedures, service addresses, and correspond with
                                                                                          P. Linsey to confirm same
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/23/2025      70 L967     A101   220.00         0.20           44.00                                                       send final
                                                                                          filed version to Attorney Linsey for e-mail service on
                                                                                          defendants
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/23/2025      68 L967     A105   445.00         0.20           89.00 Correspond with P. Linsey regarding status of service of
                                                                                          complaint
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/23/2025      41 L967     A105   520.00         0.20          104.00 Correspond with K. Mitchell and K. Ahumada regarding Updike
                                                                                          service (0.1), correspond with E. Goldstein regarding service
                                                                                          (0.1)
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor

Total for Phase ID L967                               Billable       7.70         3,186.50 Updike, Kelly & Spellacy - 25-05003

Phase ID L968 AA Global Ventured Limited et al (AE Omnibus) - 24-05322
       5248.001   01/07/2025      41 L968     A108    520.00         0.20          104.00 Correspond with clerk regarding form of summons to be issues
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/08/2025      41 L968     A108   520.00         0.20          104.00 Correspond with clerk regarding summons and update trustee
                                                                                          regarding same
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/14/2025      41 L968     A106   520.00         0.20          104.00 Correspond with D. Barron and trustee regarding summons
                                                                                          and next steps
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/16/2025      68 L968     A104   445.00         0.20           89.00 review notice of appearance for filing, correspond with K.
                                                                                          Ahumada regarding filing of same.
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/17/2025      70 L968     A101   220.00         0.20           44.00 Attention to e-mail from Attorney Mitchell regarding drafting
                                                                                          certificate of service; draft certificate of service and send back
                                                                                          to Attorney Mitchell for review
                                                                                          Despins, Ch 11 Trustee/Luc A.




KDA                                                                                                                                  Monday 03/24/2025 11:36 am
            Case 22-50073
Date: 03/24/2025
                                      Doc 4249        Filed  03/24/25 Entered 03/24/25 16:08:54
                                                          Detail Fee Task Code Billing Report
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                          Trans                                     Hours
          Client           Date   Tkpr Task Code         Rate       to Bill        Amount
Phase ID L968 AA Global Ventured Limited et al (AE Omnibus) - 24-05322
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/17/2025      68 L968     A105   445.00         0.30          133.50 Correspond and confer with K. Ahumada and E. Sutton
                                                                                          regarding domestic service,
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor
       5248.001    01/17/2025      68 L968     A104   445.00         0.20           89.00 Review draft of domestic certificate of service
                                                                                          Despins, Ch 11 Trustee/Luc A.
                                                                                          Ho Wan Kwok, Debtor

Total for Phase ID L968                               Billable       1.50          667.50 AA Global Ventured Limited et al (AE Omnibus) - 24-05322

                                                                    GRAND TOTALS

                                                      Billable     742.50       356,907.00




KDA                                                                                                                              Monday 03/24/2025 11:36 am
